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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  §
    In re:                                                        §      Chapter 11
                                                                  §
    GASTAR EXPLORATION INC., et al.,1                             §      Case No. 18-36057 (MI)
                                                                  §
                                       Debtors.                   §      (Jointly Administered)
                                                                  §
                                                                  §      Re: Docket No. __

                        ORDER (I) SCHEDULING A COMBINED
                      DISCLOSURE STATEMENT APPROVAL AND
                  PLAN CONFIRMATION HEARING, (II) ESTABLISHING
             A PLAN AND DISCLOSURE STATEMENT OBJECTION DEADLINE
           AND RELATED PROCEDURES, (III) APPROVING THE SOLICITATION
         PROCEDURES, (IV) APPROVING THE CONFIRMATION HEARING NOTICE,
        AND (V) WAIVING THE REQUIREMENTS THAT THE U.S. TRUSTEE CONVENE
       A MEETING OF CREDITORS AND THE DEBTORS FILE SCHEDULES AND SOFAS

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) scheduling a Confirmation

Hearing on the adequacy of the Disclosure Statement and confirmation of the Plan, (b) establishing

the Objection Deadline and approving related procedures; (c) establishing the Reply Deadline;

(d) approving the Solicitation Procedures; (e) approving the form and manner of the Notice;

(f) conditionally (i) directing that the U.S. Trustee not convene a Creditors’ Meeting under section

341(e) of the Bankruptcy Code and (ii) waiving the requirement that the Debtors file statements

of financial affairs and schedules of assets and liabilities; and (g) allowing the notice period for

the Disclosure Statement and Confirmation Hearing to run simultaneously, all as more fully set




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
2     Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.
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forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §

1334; and that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is permissible pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.      The Motion is granted as set forth herein.

        2.      The Confirmation Hearing, at which time this Court will consider, among other

things, the adequacy of the Disclosure Statement and confirmation of the Plan, shall be held on

December 13, 2018, at __:__ _.m., prevailing Central Time.

        3.      Any objections to adequacy of the Disclosure Statement and confirmation of the

Plan shall be filed on or before December 4, 2018, at 4:00 p.m., prevailing Central Time.

        4.      Any brief in support of confirmation of the Plan and reply to any objections shall

be filed on or before December 10, 2018, at 4:00 p.m., prevailing Central Time.

        5.      Any objections to the Disclosure Statement or confirmation of the Plan must:

                a.      be in writing;

                b.      comply with the Bankruptcy Rules and the Bankruptcy Local Rules;
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               c.      state the name and address of the objecting party and the amount and
                       nature of the claim or interest beneficially owned by such entity;

               d.      state with particularity the legal and factual basis for such objections, and,
                       if practicable, a proposed modification to the Plan that would resolve such
                       objections; and

               e.      be filed with this Court with proof of service thereof and served upon the
                       Notice Parties so as to be actually received by the Objection Deadline.

       6.      Any objections not satisfying the requirements of this Order shall not be considered

and shall be overruled.

       7.      The form of the Notice, substantially in the form attached hereto as Exhibit 1, and

the Publication Notice, substantially in the form attached hereto as Exhibit 2 and service thereof

comply with the requirements of the Bankruptcy Code and the Bankruptcy Rules and are approved.

       8.      The Debtors are authorized to enter into transactions to cause the Publication Notice

to be published in the Wall Street Journal (National Edition) within five business days following

entry of this Order, and to make reasonable payments required for such publication. The

Publication Notice, together with the Notice provided for in the Motion, is deemed to be sufficient

and appropriate under the circumstances.

       9.      The Voting Record Date and the Voting Deadline are approved.

       10.     The Solicitation Procedures utilized by the Debtors for distribution of the

Solicitation Packages as set forth in the Motion in soliciting acceptances and rejections of the Plan

satisfy the requirements of the Bankruptcy Code and the Bankruptcy Rules and are approved.

       11.     The ballots, substantially in the form attached hereto as Exhibits 3, 4, 5, and 6 are

approved.

       12.     The procedures used for tabulations of votes to accept or reject the Plan as set forth

in the Motion and as provided by the ballots are approved.



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       13.     The Debtors are not required to mail a copy of the Plan or the Disclosure Statement

to holders of claims that are: (a) unimpaired and conclusively presumed to accept the Plan; or

(b) impaired and deemed to reject the Plan.

       14.     The U.S. Trustee need not and shall not convene a meeting of creditors or equity

holders pursuant to section 341(e) of the Bankruptcy Code unless the Plan is not confirmed on or

before December 28, 2018, without prejudice to the Debtors’ right to request further extension

thereof.

       15.     Cause exists to extend the time by which the Debtors must file the Schedules and

SOFAs until December 28, 2018, without prejudice to the Debtors’ rights to request further

extensions thereof. If the Plan is not confirmed on or before December 28, 2018, the requirement

to file schedules and SOFAs in the chapter 11 cases shall be waived without the requirement of

any further action on any Debtor’s part.

       16.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other party in

interest’s rights to dispute any prepetition claim on any grounds; (c) a promise or requirement to

pay a prepetition claims; (d) an implication or admission that any particular claim is of a type

specified or defined in the Motion or any order granting the relief requested by the Motion; (e) a

request or authorization to assume any prepetition agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; or (f) a waiver of the Debtors’ or any other party in interest’s rights

under the Bankruptcy Code or any other applicable law.

       17.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).


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       18.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       19.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       20.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       21.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: __________, 2018
 Houston, Texas                                      MARVIN ISGUR
                                                     UNITED STATES BANKRUPTCY JUDGE




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                             Exhibit 1

                          Proposed Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                   §
    In re:                                                         §      Chapter 11
                                                                   §
    GASTAR EXPLORATION INC., et al.,1                              §      Case No. 18-36057 (MI)
                                                                   §
                                       Debtors.                    §      (Jointly Administered)
                                                                   §

                     NOTICE OF (I) COMMENCEMENT OF
                PREPACKAGED CHAPTER 11 BANKRUPTCY CASES,
          (II) COMBINED HEARING ON THE DISCLOSURE STATEMENT,
          CONFIRMATION OF THE JOINT PREPACKAGED CHAPTER 11
        PLAN, AND RELATED MATTERS, AND (III) OBJECTION DEADLINES,
    AND SUMMARY OF THE DEBTORS’ JOINT PREPACKAGED CHAPTER 11 PLAN


NOTICE IS HEREBY GIVEN as follows:

         On October 31, 2018 (the “Petition Date”), Gastar Exploration Inc. and its affiliate, as debtors and
debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) filed with the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) a proposed
joint prepackaged chapter 11 plan of reorganization [Docket No. 31] (the “Plan”) and proposed disclosure
statement [Docket No. 29] (the “Disclosure Statement”) pursuant to sections 1125 and 1126(b) of title 11
of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). Copies of the Plan and the
Disclosure Statement may be obtained upon request of the Debtors’ proposed counsel at the address
specified below and are on file with the Clerk of the Bankruptcy Court, 515 Rusk Street, Houston, Texas
77002, where they are available for review between the hours of 8:00 a.m. to 5:00 p.m., prevailing Central
Time. The Plan and the Disclosure Statement also are available for inspection on the Bankruptcy Court’s
website at www.txs.uscourts.gov or free of charge on the Debtors’ restructuring website at
http://www.bmcgroup.com/gastar.2

        The Plan is a “prepackaged” plan of reorganization. The primary purpose of the Plan is to effectuate
a balance-sheet restructuring of the Debtors’ business (the “Restructuring”). The Debtors believe that any


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
2     Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan or the
      Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained
      in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the terms and
      provisions of the Plan or documents referred therein. To the extent there is a discrepancy between the terms
      herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and
      control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
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valid alternative to confirmation of the Plan would result in significant delays, litigation, and additional
costs, and, ultimately, would jeopardize recoveries for holders of allowed claims.

         Hearing on Confirmation of the Plan and the Adequacy of the Disclosure Statement

        The hearing (the “Confirmation Hearing”) will be held before Marvin Isgur, United States
Bankruptcy Judge, in Room 404 of the United States Bankruptcy Court, 515 Rusk Street Houston, Texas
77002, on December 13, 2018, at [__], to consider the adequacy of the Disclosure Statement, any objections
to the Disclosure Statement, confirmation of the Plan, any objections thereto, and any other matter that may
properly come before the Bankruptcy Court. Please be advised that the Confirmation Hearing may be
continued from time to time by the Bankruptcy Court or the Debtors without further notice other than by
such adjournment being announced in open court or by a notice of adjournment filed with the Bankruptcy
Court and served on other parties entitled to notice.

                                     Information Regarding the Plan

       Voting Record Date. The voting record date is October 25, 2018, which was the date for
determining which holders of claims in Class 3, Class 4, Class 5, and Class 6 of the Plan were entitled to
vote.

         Objections to the Plan. The deadline for filing objections to the Plan is December 4, 2018, at
4:00 p.m., prevailing Central Time. Any objections (each, an “Objection”) to the Plan or the Disclosure
Statement must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy Procedure and the
Bankruptcy Local Rules for the Southern District of Texas; (c) state the name and address of the objecting
party and the amount and nature of the claim or interest beneficially owned by such entity; and (d) state
with particularity the legal and factual basis for such objections, and, if practicable, a proposed modification
to the Plan that would resolve such objections.

         CRITICAL INFORMATION REGARDING OBJECTING TO THE PLAN

       ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION,
   AND INJUNCTION PROVISIONS, AND ARTICLE VIII.C CONTAINS A THIRD-
  PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
 PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

ALL HOLDERS OF CLAIMS OR INTERESTS THAT DO NOT FILE AN OBJECTION
     WITH THE BANKRUPTCY COURT IN THE CHAPTER 11 CASES THAT
EXPRESSLY OBJECTS TO THE INCLUSION OF SUCH HOLDER AS A RELEASING
 PARTY UNDER THE PROVISIONS CONTAINED IN ARTICLE VIII OF THE PLAN
 WILL BE DEEMED TO HAVE EXPRESSLY, UNCONDITIONALLY, GENERALLY,
  INDIVIDUALLY, AND COLLECTIVELY CONSENTED TO THE RELEASE AND
DISCHARGE OF ALL CLAIMS AND CAUSES OF ACTION AGAINST THE DEBTORS
                    AND THE RELEASED PARTIES.




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         Objections must be filed with the Bankruptcy Court and served so as to be actually received no
later than December 4, 2018, at 4:00 p.m., prevailing Central Time, by those parties who have filed a
notice of appearance in the Debtors’ chapter 11 cases as well as the following parties:

   Debtors                                     Gastar Exploration Inc.
                                               1331 Lamar Street
                                               Suite 650
                                               Houston, Texas 77010
                                               Attn: Michael A. Gerlich

   Proposed Counsel to the Debtors             Kirkland & Ellis LLP
                                               Kirkland & Ellis International LLP
                                               609 Main Street
                                               Houston, Texas 77002
                                               Attn: Anna G. Rotman, P.C.

                                               -and -

                                               300 North LaSalle
                                               Chicago, Illinois 60654
                                               Attn: Ross M. Kwasteniet, P.C.
                                                      John R. Luze

                                               -and-

                                               Jackson Walker L.L.P.
                                               1401 McKinney Street, Suite 1900
                                               Houston, Texas 77010
                                               Attn: Patricia B. Tomasco
                                                      Elizabeth C. Freeman
                                                      Matthew D. Cavenaugh

   United States Trustee                       Office of the United States Trustee
                                               for the Southern District of Texas
                                               515 Rusk Street, Suite 3516
                                               Houston, Texas 77002
                                               Attn: Hector Duran
                                                       Stephen Statham

      UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH
THIS NOTICE IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

     AS DESCRIBED BELOW, YOU ARE ADVISED TO CAREFULLY REVIEW AND
CONSIDER THE PLAN, INCLUDING THE DISCHARGE, RELEASE, EXCULPATION, AND
INJUNCTION PROVISIONS, AS YOUR RIGHTS MIGHT BE AFFECTED.




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                                    Summary of Plan Treatment

        The following chart summarizes the treatment provided by the Plan to each class of Claims against
and Interests in the Debtors, and indicates the voting status of each class.

                             SUMMARY OF EXPECTED RECOVERIES

                                                                                           Projected
                                                                                           Amount of
 Class    Claim/Interest                  Treatment of Claim/ Interest                      Claims
                           Each holder of an Allowed Class 1 Claim shall receive, at          $0
                           the option of the applicable Debtor, with the consent (such
                           consent not to be unreasonably withheld) of the
                           Consenting Parties: (i) payment in full in Cash of its
  Class   Other Secured
                           Allowed Class 1 Claim; (ii) the collateral securing its
    1     Claims
                           Allowed Class 1 Claim; (iii) Reinstatement of its Allowed
                           Class 1 Claim; or (iv) such other treatment rendering its
                           Allowed Class 1 Claim Unimpaired in accordance with
                           section 1124 of the Bankruptcy Code
                           Each holder of an Allowed Class 2 Claim shall receive                $0
                           Cash in an amount equal to such Allowed Class 2 Claim
                           on the later of (a) the Effective Date or (b) the date due in
  Class   Other Priority
                           the ordinary course of business in accordance with the
    2     Claims
                           terms and conditions of the particular transaction, contract,
                           or other agreement giving rise to such Allowed Class 2
                           Claim.
                           Each holder of an Allowed Class 3 Claim shall receive           $13.3 million
                           Cash in an amount equal to 100% of the Allowed amount
                           of such holder’s Claims, payable in the following
                           installment: (a) on the Effective Date, an amount equal to
                           the product of (i) the number of monthly settlement
                           payments that would have occurred after the Hedge
                           Termination Date and on or prior to the Effective Date had
  Class   Hedge Party
                           the Hedge Claims not been liquidated divided by 14 and
    3     Claims
                           (ii) the applicable Hedge Party Claims Payment Amount
                           with respect to such holder; and (b) the remaining amount
                           of the Hedge Party Claims Payment Amount with respect
                           to such holder in equal monthly installments beginning on
                           the first day of the first month following the Effective Date
                           and ending on December 1, 2019, pursuant to the Hedge
                           Party Secured Notes.
                           Each holder of an Allowed Class 4 Claim shall receive: (a)      $8.9 million
                           on the Effective Date, cash in an amount equal to 50% of
                           the Allowed amount of such holder’s Allowed Class 4
  Class   Statutory Lien
                           Claim; and (b) on the date that is six months following the
    4     Claims
                           Effective Date, cash in an amount equal to the remaining
                           50% of the Allowed amount of such holder’s Allowed
                           Class 4 Claim.

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                                SUMMARY OF EXPECTED RECOVERIES

                                                                                                 Projected
                                                                                                 Amount of
    Class   Claim/Interest                   Treatment of Claim/ Interest                         Claims
                               Each holder of an Allowed Class 5 Claim shall receive: (a)      $283.9 million3
                               only to the extent there is remaining availability under the
                               Second Lien Exit Facility after the refinancing and
                               satisfaction of all Allowed DIP Claims in accordance
                               Article II.B of the Plan, its Pro Rata share of participation
                               in such remaining availability under the Second Lien Exit
                               Facility in an equal face amount not to exceed $200
                               million; and (b) to the extent there are remaining Allowed
    Class   Term Loan          Class 5 Claims not refinanced or otherwise satisfied
      5     Claims             pursuant to the Second Lien Exit Facility (which
                               remaining amounts shall constitute Equitized Senior
                               Obligations), its Pro Rata share (measured by reference to
                               the aggregate amount of Equitized Senior Obligations,
                               Second Lien Notes Claims, and, as applicable upon the
                               occurrence of a DIP Toggle Event, General Unsecured
                               Claims) of 100% of the New Common Equity, subject to
                               dilution on account of, as applicable, the Management
                               Incentive Plan and the New Warrants.
                               Each holder of an Allowed Class 6 Claim shall receive its       $162.5 million
                               Pro Rata share (measured by reference to the aggregate
                               amount of Equitized Senior Obligations, Second Lien
    Class   Second Lien        Notes Claims, and, as applicable upon the occurrence of a
      6     Notes Claims       DIP Toggle Event, General Unsecured Claims) of 100%
                               of the New Common Equity, subject to dilution on account
                               of, as applicable, the Management Incentive Plan and the
                               New Warrants.
                               Each holder of an Allowed Class 7 Claim shall receive           $0.5 million –
                               Cash in an amount equal to such Allowed General                  $2.5 million
            General            Unsecured Claim on the later of: (i) the Effective Date; or
    Class
            Unsecured          (ii) the date due in the ordinary course of business in
      7
            Claims             accordance with the terms and conditions of the particular
                               transaction or agreement giving rise to such Allowed
                               General Unsecured Claim.
                               Class 8 Claims shall be, at the option of the Debtor, with           N/A
    Class   Intercompany       the consent (such consent not to be unreasonably withheld)
      8     Claims             of the Consenting Parties, either Reinstated or cancelled
                               and released without any distribution.




3    The DIP Facility contemplates a “roll-up” of the $283.9 million in Term Loan Claims.


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                          SUMMARY OF EXPECTED RECOVERIES

                                                                                         Projected
                                                                                         Amount of
Class   Claim/Interest                 Treatment of Claim/ Interest                       Claims
                         Class 9 Interests shall be, at the option of the Debtor, with     N/A
        Interests in
Class                    the consent (such consent not to be unreasonably withheld)
        Debtors other
  9                      of the Consenting Parties, either Reinstated or cancelled
        than Gastar
                         and released without any distribution.
                         Class 10 Interests will be canceled, released, and                N/A
                         extinguished as of the Effective Date, and will be of no
                         further force or effect, and holders of Class 10 Interests
                         will not receive any distribution on account of such Class
                         10 Interests. To the extent no holders of Class 10 Interests
                         or Class 11 Interests seek appointment of an official
                         committee of equity security holders, seek the appointment
                         of a trustee or examiner, or object to or otherwise oppose
        Existing         the consummation of the Restructuring Transactions,
Class
        Preferred        Confirmation of the Plan, or entry of the DIP Orders,
 10
        Interests        holders of Class 10 Interests shall receive their Pro Rata
                         share of the New Preferred Warrants. If any holder of
                         Class 10 Interest or Class 11 Interests seeks appointment
                         of an official committee of equity security holders, seek
                         the appointment of a trustee or examiner, or object to or
                         otherwise oppose the consummation of the Restructuring
                         Transactions, Confirmation of the Plan, or entry of the DIP
                         Orders, holders of Class 10 Interests shall not receive the
                         New Preferred Warrants.




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                               SUMMARY OF EXPECTED RECOVERIES

                                                                                                Projected
                                                                                                Amount of
  Class    Claim/Interest                   Treatment of Claim/ Interest                         Claims
                              Class 11 Claims and Interests will be canceled, released,           N/A
                              and extinguished as of the Effective Date, and will be of
                              no further force or effect, and holders of Class 11 Claims
                              and Interests will not receive any distribution on account
                              of such Class 11 Claims and Interests. To the extent no
                              holders of Class 11 Claims and Interests or holders of
                              Class 10 Interests seek appointment of an official
                              committee of equity security holders, seek the appointment
           Existing
                              of a trustee or examiner, or object to or otherwise oppose
           Common
                              the consummation of the Restructuring Transactions,
  Class    Interests and
                              Confirmation of the Plan, or entry of the DIP Orders,
   11      Subordinated
                              holders of Class 11 Claims and Interests shall receive their
           Securities
                              Pro Rata share of the New Common Warrants. If any
           Claims
                              holder of Class 11 Claims and Interests or holders of Class
                              10 Interests seeks appointment of an official committee of
                              equity security holders, seek the appointment of a trustee
                              or examiner, or object to or otherwise oppose the
                              consummation of the Restructuring Transactions,
                              Confirmation of the Plan, or entry of the DIP Orders,
                              holders of Class 11 Claims and Interests shall not receive
                              the New Common Warrants.


                            Discharge, Injunctions, Exculpation, and Releases

        Please be advised that the Plan contains certain release, exculpation, and injunction provisions as
follows:

Relevant Definitions

“Exculpated Parties” means, collectively, and in each case in its capacity as such: (i) the Debtors; (ii) any
official committees appointed in the Chapter 11 Cases and each of their respective members; and (iii) with
respect to each of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its
current and former Affiliates’ current and former equity holders, subsidiaries, officers, directors, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, and other professionals, each in their
capacity as such.

“Released Party” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Parties; (d) the Term Lenders; (e) the Second Lien Noteholders;
(f) the Ares Equity Holders; (g) the Term Agent; (h) the Second Lien Trustee; (i) the DIP Lenders; (j) the
DIP Agent; (k) the First Lien Exit Facility Lenders; (l) the First Lien Exit Facility Agent; (m) the Second
Lien Exit Facility Lenders; (n) the Second Lien Exit Facility Agent; (o) the Hedge Parties;
(p) Schlumberger Technology Corporation; and (q) with respect to each of the foregoing entities in clauses

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(a) through (q), such Entity and its current and former Affiliates and subsidiaries, and such Entities’ and
their current and former Affiliates’ and subsidiaries’ current and former directors, managers, officers, equity
holders (regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, managed accounts or funds, participants, predecessors, successors, and assigns,
subsidiaries, and each of their respective current and former equity holders, officers, directors, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners, limited
partners, general partners, attorneys, advisors, accountants, investment bankers, consultants,
representatives, and other professionals.

“Releasing Parties” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Parties; (d) the Term Lenders; (e) the Second Lien Noteholders;
(f) the Ares Equity Holders; (g) the Term Agent; (h) the Second Lien Trustee; (i) the DIP Lenders; (j) the
DIP Agent; (k) the First Lien Exit Facility Lenders; (l) the First Lien Exit Facility Agent; (m) the Second
Lien Exit Facility Lenders (n) the Second Lien Exit Facility Agent; (o) the Hedge Parties; (p) all holders of
Claims; (q) all holders of Interests; (r) Schlumberger Technology Corporation; and (s) with respect to each
of the foregoing entities in clauses (a) through (s), such Entity and its current and former Affiliates and
subsidiaries, and such Entities’ and their current and former Affiliates’ and subsidiaries’ current and former
directors, managers, officers, equity holders (regardless of whether such interests are held directly or
indirectly), affiliated investment funds or investment vehicles, managed accounts or funds, participants,
predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members,
financial advisors, partners, limited partners, general partners, attorneys, advisors, accountants, investment
bankers, consultants, representatives, and other professionals, each in their capacity as such collectively.

        A.       Discharge of Claims and Termination of Interests.

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan or in any contract, instrument, or other agreement or document created or
entered into pursuant to the Plan, the distributions, rights, and treatment that are provided in the
Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by the
Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or unknown,
against, liabilities of, liens on, obligations of, rights against, and interests in, the Debtors or any of
their assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date, any liability (including withdrawal liability) to
the extent such Claims or Interests relate to services performed by employees of the Debtors prior to
the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code,
in each case whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed
Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt,
right, or interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder of such
a Claim or Interest has accepted the Plan. The Confirmation Order shall be a judicial determination
of the discharge of all Claims and Interests subject to the occurrence of the Effective Date.

        B.       Release of Liens.

      Except with respect to the First Lien Exit Facility Documents, the Hedge Party Secured Note
Documents, the Second Lien Exit Facility Documents, the Plan, or any contract, instrument, release,

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or other agreement or document created pursuant to the Plan, on the Effective Date and concurrently
with the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to reinstate in accordance with Error! Reference
source not found. hereof, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the Estates shall be fully released and discharged, and all of the right, title,
and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security interests
shall revert to the Reorganized Debtors and their successors and assigns. Any holder of such Secured
Claim (and the applicable agents for such holder) shall be authorized and directed, at the sole cost
and expense of the Reorganized Debtors, to release any collateral or other property of any Debtor
(including any cash collateral and possessory collateral) held by such holder (and the applicable
agents for such holder), and to take such actions as may be reasonably requested by the Reorganized
Debtors to evidence the release of such Lien, including the execution, delivery, and filing or recording
of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency or department shall constitute good and sufficient evidence of, but shall
not be required to effect, the termination of such Liens.

        C.      Releases by the Debtors.

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration,
the adequacy of which is hereby confirmed, on and after the Effective Date, each Released Party is,
and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocable and forever,
released and discharged by the Debtors, the Reorganized Debtors, and their Estates, in each case on
behalf of themselves and their respective successors, assigns, and representatives, and any and all
other entities who may purport to assert any Cause of Action, directly or derivatively, by, through,
for, or because of the foregoing entities, from any and all Causes of Action, including any derivative
claims, asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise, that
the Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the holder of any Claim against,
or Interest in, a Debtor or other Entity, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Debtors’ capital structure, the Debtors’ in- or out-of-court
restructuring efforts, intercompany transactions between the Debtors, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Definitive Documentation, the
RSA or Hedge Party RSA or the related prepetition transactions, the Disclosure Statement, the DIP
Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the Second Lien Exit Facility,
the Plan (including, for the avoidance of doubt, the Plan Supplement), or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into
in connection with the RSA, the Disclosure Statement, the DIP Credit Agreement, or the Plan, any
preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the filing of the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
except for any Causes of Action related to an act or omission that is determined in a Final Order by
a court of competent jurisdiction to have constituted actual fraud or fraud grounded in deliberate
recklessness. Notwithstanding anything contained herein to the contrary, the foregoing release does
not release (i) any post-Effective Date obligations of any party or entity under the Plan, any
Restructuring Transaction, or any document, instrument, or agreement (including those set forth in
the Plan Supplement) executed to implement the Plan, including the First Lien Exit Facility

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Documents and the Second Lien Exit Facility Documents or (ii) any Causes of Action identified in
the Schedule of Retained Causes of Action.

        D.      Releases by Holders of Claims and Interests.

        Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after
of the Effective Date, in exchange for good and valuable consideration, the adequacy of which is
hereby confirmed, each Releasing Party hereby releases and discharges, and is deemed to have
released and discharged, conclusively, absolutely, unconditionally, irrevocably and forever, each
Debtor, Reorganized Debtor, and Released Party from any and all Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law,
equity, contract, tort, or otherwise (including any derivative claims, asserted on behalf of the Debtors)
that such Entity would have been legally entitled to assert (whether individually or collectively), based
on or relating to, or in any manner arising from, in whole or in part, the Debtors, the Debtors’ in- or
out-of-court restructuring efforts, intercompany transactions between the Debtors, the Chapter 11
Cases, the formulation, preparation, dissemination, negotiation, or filing of the Definitive
Documentation, RSA or Hedge Party RSA or the related prepetition transactions, the Disclosure
Statement, the DIP Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the Second
Lien Exit Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transaction, contract, instrument, release, or other agreement or document relating
to any of the foregoing created or entered into before or during the Chapter 11 Cases, any preference,
fraudulent transfer, or other avoidance claim pursuant to chapter 5 of the Bankruptcy Code or other
applicable law, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities pursuant to the Plan, or the distribution of property under the Plan or any
other related agreement, or upon any other related act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date, except for any Causes of Action related
to an act or omission that is determined in a Final Order by a court of competent jurisdiction to have
constituted actual fraud or fraud grounded in deliberate recklessness. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release (i) any Post-Effective Date
obligations of any party or entity under the Plan, any Restructuring Transaction, or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
the Plan, including the First Lien Exit Facility Documents, the Second Lien Exit Facility Documents
or any Claim or obligation arising under the Plan or (ii) any Causes of Action identified in the
Schedule of Retained Causes of Action.

        E.      Exculpation.

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur,
and each Exculpated Party is released and exculpated from any Cause of Action for any claim related
to any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the RSA and related prepetition
transactions, the Disclosure Statement, the Plan, or any Restructuring Transaction, contract,
instrument, release or other agreement or document created or entered into in connection with the
Plan, the Plan Supplement, the Definitive Documentation, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance of securities pursuant to the Plan, or the distribution of property
under the Plan or any other related agreement, except for claims related to any act or omission that
is determined in a Final Order to have constituted actual fraud or gross negligence, but in all respects
such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to their duties
and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of the

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Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for the violation
of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan. Notwithstanding anything contained herein
to the contrary, the foregoing exculpation does not release any Causes of Action identified in the
Schedule of Retained Causes of Action.

        F.      Injunction.

        Except as otherwise expressly provided in the Plan or for obligations issued or required to be
paid pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold
Claims or Interests that have been released, discharged, or are subject to exculpation are
permanently enjoined, from and after the Effective Date, from taking any of the following actions
against, as applicable, the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released
Parties: (1) commencing or continuing in any manner any action, suit or other proceeding of any
kind on account of or in connection with or with respect to any such Claims or Interests; (2) enforcing,
attaching, collecting, or recovering by any manner or means any judgment, award, decree, or order
against such Entities on account of or in connection with or with respect to any such Claims or
Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind against such Entities or
the property or the estates of such Entities on account of or in connection with or with respect to any
such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a
motion requesting the right to perform such setoff on or before the Effective Date, and
notwithstanding an indication of a Claim or Interest or otherwise that such holder asserts, has, or
intends to preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing
or continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims or Interests released or settled pursuant to the
Plan. Notwithstanding anything to the contrary in the foregoing, the injunction does not enjoin any
party under the Plan or under any document, instrument or agreement (including those included in
the Plan Supplement) executed to implement the Plan from bringing an action to enforce the terms
of the Plan or such document, instrument or agreement (including those included in the Plan
Supplement) executed to implement the Plan.


                              [Remainder of page intentionally left blank.]




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Dated: October 31, 2018    /s/ Matthew D. Cavenaugh
                           Patricia B. Tomasco (TX Bar No. 01797600)
                           Elizabeth C. Freeman (TX Bar No. 24009222)
                           Matthew D. Cavenaugh (TX Bar No. 24062656)
                           JACKSON WALKER L.L.P.
                           1401 McKinney Street, Suite 1900
                           Houston, Texas 77010
                           Telephone:     (713) 752-4200
                           Facsimile:     (713) 752-4221
                           Email:         ptomasco@jw.com
                                          efreeman@jw.com
                                          mcavenaugh@jw.com

                           -and-

                           Anna G. Rotman, P.C. (TX Bar No. 24046761)
                           KIRKLAND & ELLIS LLP
                           KIRKLAND & ELLIS INTERNATIONAL LLP
                           609 Main Street
                           Houston, Texas 77002
                           Telephone:    (713) 836-3600
                           Facsimile:    (713) 836-3601
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                           -and-

                           Ross M. Kwasteniet, P.C. (pro hac vice admission pending)
                           John R. Luze (pro hac vice admission pending)
                           KIRKLAND & ELLIS LLP
                           KIRKLAND & ELLIS INTERNATIONAL LLP
                           300 North LaSalle
                           Chicago, Illinois 60654
                           Telephone:     (312) 862-2000
                           Facsimile:     (312) 862-2200
                           Email:         ross.kwasteniet@kirkland.com
                                          john.luze@kirkland.com

                           Proposed Co-Counsel for the Debtors and Debtors in
                           Possession
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                              Exhibit 2

                     Proposed Publication Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    §
    In re:                                                          §     Chapter 11
                                                                    §
    GASTAR EXPLORATION INC., et al.,1                               §     Case No. 18-36057 (MI)
                                                                    §
                                       Debtors.                     §     (Jointly Administered)
                                                                    §

            NOTICE OF COMMENCEMENT OF PREPACKAGED CHAPTER 11
           BANKRUPTCY CASES AND COMBINED HEARING ON DISCLOSURE
      STATEMENT AND CONFIRMATION OF JOINT PREPACKAGED CHAPTER 11 PLAN

TO:          ALL HOLDERS OF CLAIMS, HOLDERS OF INTERESTS, AND PARTIES IN
             INTEREST IN THE ABOVE-CAPTIONED CHAPTER 11 CASES

         PLEASE TAKE NOTICE THAT On October 31, 2018 (the “Petition Date”), Gastar Exploration
Inc. and its affiliate, as debtors and debtors in possession in the above-captioned chapter 11 cases
(collectively, the “Debtors”) filed with the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”) a proposed joint prepackaged chapter 11 plan of reorganization [Docket
No. 31] (the “Plan”) and proposed disclosure statement [Docket No. 29] (the “Disclosure Statement”)
pursuant to sections 1125 and 1126(b) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the
“Bankruptcy Code”). Copies of the Plan and the Disclosure Statement may be obtained upon request of
the Debtors’ proposed counsel at the address specified below and are on file with the Clerk of the
Bankruptcy Court, 515 Rusk Street, Houston, Texas 77002, where they are available for review between
the hours of 8:00 a.m. to 5:00 p.m., prevailing Central Time. The Plan and the Disclosure Statement also
are available for inspection on the Bankruptcy Court’s website at www.txs.uscourts.gov or free of charge
on the Debtors’ restructuring website at http://www.bmcgroup.com/gastar.2
        PLEASE TAKE FURTHER NOTICE THAT a hearing (the “Confirmation Hearing”) will be
held before Marvin Isgur, United States Bankruptcy Judge, in Room 404 of the United States Bankruptcy
Court, 515 Rusk Street Houston, Texas 77002, on December 13, 2018, at [__], to consider the adequacy of
the Disclosure Statement, any objections to the Disclosure Statement, confirmation of the Plan, any
objections thereto, and any other matter that may properly come before the Court. Please be advised that
the Confirmation Hearing may be continued from time to time by the Bankruptcy Court or the Debtors


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the
      Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
2     Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan or the
      Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained
      in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the terms and
      provisions of the Plan or documents referred therein. To the extent there is a discrepancy between the terms
      herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and
      control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
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without further notice other than by such adjournment being announced in open court or by a notice of
adjournment filed with the Bankruptcy Court and served on other parties entitled to notice.
         PLEASE TAKE FURTHER NOTICE THAT objections (each, an “Objection”), if any, to the
Plan or the Disclosure Statement must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
Procedure and the of the Bankruptcy Local Rules for the Southern District of Texas; (c) state the name and
address of the objecting party and the amount and nature of the claim or interest beneficially owned by such
entity or individual; (d) state with particularity the legal and factual basis for such objections, and, if
practicable, a proposed modification to the Plan that would resolve such objections; and (e) be filed with
the Bankruptcy Court (contemporaneously with a proof of service) and served so as to be actually received
no later than December 4, 2018, at 4:00 p.m., prevailing Central Time, by those parties who have a filed
a notice of appearance in the Debtors’ chapter 11 cases as well as each of the following parties:
   Debtors                                       Gastar Exploration Inc.
                                                 1331 Lamar Street
                                                 Suite 650
                                                 Houston, Texas 77010
                                                 Attn: Michael A. Gerlich

   Proposed Counsel to the Debtors               Kirkland & Ellis LLP
                                                 Kirkland & Ellis International LLP
                                                 609 Main Street
                                                 Houston, Texas 77002
                                                 Attn: Anna G. Rotman, P.C.

                                                 -and -


                                                 300 North LaSalle
                                                 Chicago, Illinois 60654
                                                 Attn: Ross M. Kwasteniet, P.C.
                                                        John R. Luze

                                                 -and-

                                                 Jackson Walker L.L.P.
                                                 1401 McKinney Street, Suite 1900
                                                 Houston, Texas 77010
                                                 Attn: Patricia B. Tomasco
                                                        Elizabeth C. Freeman
                                                        Matthew D. Cavenaugh

   United States Trustee                         Office of the United States Trustee
                                                 for the Southern District of Texas
                                                 515 Rusk Street, Suite 3516
                                                 Houston, Texas 77002
                                                 Attn: Hector Duran
                                                         Stephen Statham




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      UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH
THIS NOTICE IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.
      CRITICAL INFORMATION REGARDING OBJECTING TO THE PLAN

      ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION,
  AND INJUNCTION PROVISIONS, AND ARTICLE VIII.C CONTAINS A THIRD-
 PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

ALL HOLDERS OF CLAIMS OR INTERESTS THAT DO NOT FILE AN OBJECTION
     WITH THE BANKRUPTCY COURT IN THE CHAPTER 11 CASES THAT
EXPRESSLY OBJECTS TO THE INCLUSION OF SUCH HOLDER AS A RELEASING
 PARTY UNDER THE PROVISIONS CONTAINED IN ARTICLE VIII OF THE PLAN
 WILL BE DEEMED TO HAVE EXPRESSLY, UNCONDITIONALLY, GENERALLY,
  INDIVIDUALLY, AND COLLECTIVELY CONSENTED TO THE RELEASE AND
DISCHARGE OF ALL CLAIMS AND CAUSES OF ACTION AGAINST THE DEBTORS
                    AND THE RELEASED PARTIES.

     YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE DISCHARGE, RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS IN ARTICLE VIII OF THE PLAN, AS YOUR RIGHTS MIGHT BE AFFECTED.
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                              Exhibit 3

                        Form of Class 3 Ballot
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                                                                                                        Gastar Exploration Inc., et al.
                                                                                                                       Class 3 Ballot

                                   CLASS 3 BALLOT FOR VOTING ON
                                                                         1
                          THE DEBTORS’ JOINT PREPACKAGED CHAPTER 11 PLAN
IMPORTANT                   PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
NOTE:                       COMPLETING THIS BALLOT AND THE DEBTORS’ JOINT PREPACKAGED
                            CHAPTER 11 PLAN (THE “PLAN”) OF GASTAR EXPLORATION INC., ET AL.
                            (THE “COMPANY”) INCLUDED WITH THIS BALLOT BEFORE COMPLETING THIS
                            BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON THE PLAN, WHICH IS
                            SUBJECT TO BANKRUPTCY COURT APPROVAL AND WHICH CONTEMPLATES A
                            COMPREHENSIVE RESTRUCTURING TRANSACTION (THE “TRANSACTION”)
                            UPON THE EMERGENCE OF THE COMPANY FROM CHAPTER 11. THE COMPANY
                            HAS NOT COMMENCED CHAPTER 11 CASES AS OF THE DATE HEREOF.

DEADLINE:                   THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
                            ACTUALLY RECEIVED BY BMC GROUP, INC. (THE “VOTING AGENT”) PRIOR TO
                            12:00 P.M. PREVAILING CENTRAL TIME ON OCTOBER 30, 2018
                            (THE “VOTING DEADLINE”).

QUESTIONS:                  If you have any questions regarding this ballot, the enclosed voting instructions, the
                            procedures for voting, or need to obtain additional solicitation materials, please contact the
                            Voting Agent by emailing gastar@bmcgroup.com and reference “Gastar” in the subject line or
                            at +1 (888) 909-0100 (ask for Solicitation Group), or at the following address: (a) if by regular
                            mail BMC Group, Inc., Attn: Gastar Ballot Processing, PO Box 90100, Los Angeles,
                            California, 90009, or (b) if by overnight delivery BMC Group, Inc., Attn: Gastar Ballot
                            Processing, 3732 West 120th Street, Hawthorne, California, 90250.

CLASS 3 NOTICE:             You have received this ballot because the Company’s books and records indicate that you are
                                                                    2
                            a holder of a Class 3 Hedge Party Claim as of October 25, 2018 (the “Voting Record Date”).
                            Accordingly, you have the right to execute this ballot and to vote to accept or reject the Plan.
                            This ballot may not be used for any purpose other than for casting votes with respect to the
                            Plan and making certain certifications with respect to the Plan. If you believe you have
                            received this ballot in error, or if you believe that you have received the wrong ballot, please
                            contact the Voting Agent immediately.
                            You should review the Plan before you vote. You may wish to seek legal advice concerning
                            the proposals related to the Plan.

TRANSACTION                 The Company is soliciting votes to accept or reject the Plan from holders of Hedge Party
BACKGROUND:                 Claims, Statutory Lien Claims, Term Loan Claims, and Second Lien Notes Claims. The
                            Company may file Chapter 11 Cases in a bankruptcy court of competent jurisdiction (the
                            “Bankruptcy Court”) and seek to consummate the Transaction through the chapter 11
                            bankruptcy process and the Plan. The Company will file the Plan and the related disclosure
                            statement (the “Disclosure Statement”) with the Bankruptcy Court on or shortly after the date
                            of the filing of the Chapter 11 Cases. Once completed and returned in accordance with the
                            attached instructions, your vote on the Plan will be counted as set forth herein. Class 3 will
                            accept the Plan if holders of at least two-thirds in amount and more than one-half in number of
                            voting Class 3 Hedge Party Claims vote to accept the Plan. The Bankruptcy Court may
                            confirm the Plan, which contemplates effecting the Transaction, if the Plan otherwise satisfies
                            the requirements of section 1129 of the Bankruptcy Code, and the Plan then would be binding


1   The anticipated Debtors in the chapter 11 cases, along with the last four digits of each anticipated Debtor’s federal tax identification
    number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the anticipated Debtors’
    service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.

2   Capitalized terms used but not defined herein have the meanings given to them in the Plan.



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                                                                              Gastar Exploration Inc., et al.
                                                                                             Class 3 Ballot

               on all holders of Allowed Claims in Class 3, among others.

TREATMENT OF   Subject to the terms and conditions of the Plan, you will receive the following treatment if the
YOUR CLASS 3   Plan is consummated:
HEDGE PARTY
CLAIMS:        Each holder of an Allowed Class 3 Claim shall receive Cash in an amount equal to 100% of
               the Allowed amount of such holder’s Claims, payable in the following installments:
                  i.    on the Effective Date, in an amount equal to the product of (A) the number of
                        monthly settlement payments that would have occurred after the Hedge Termination
                        Date and on or prior to the Effective Date had the Hedge Claims not been liquidated
                        divided by 14 and (B) the Hedge Claims Payment Amount; and
                 ii.    the remaining amount of the Hedge Claims Payment Amount in equal monthly
                        installments beginning on the first day of the first month following the Effective Date
                        and ending on December 1, 2019, pursuant to the Hedge Party Secured Note.
               For additional discussion of your treatment and rights under the Plan, please read the
               Disclosure Statement and the Plan.




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                                                                              Gastar Exploration Inc., et al.
                                                                                             Class 3 Ballot


VOTING — COMPLETE THIS SECTION

ITEM 1:          The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the
PRINCIPAL        holder of Class 3 Hedge Party Claims in the following aggregate amount (please fill in the
AMOUNT OF        amount if not otherwise completed):
CLASS 3 HEDGE
PARTY CLAIMS      Amount of Claims: $__________________________



ITEM 2:          You may vote to accept or reject the Plan. You must check one of the boxes below in order
VOTE TO ACCEPT   to have your vote counted.
OR REJECT THE
PLAN             The holder of the Class 3 Hedge Party Claims set forth in Item 1 above votes to (please
                 check one and only one):

                       ACCEPT (VOTE FOR) THE PLAN

                       REJECT (VOTE AGAINST) THE PLAN

                 Please note that you are voting all of your Class 3 Hedge Party Claims either to accept or
                 reject the Plan. You may not split your vote. If you do not indicate that you either accept or
                 reject the Plan by checking the applicable box above, your ballot with respect to this Item 2
                 will not be counted. If you indicate that you both accept and reject the Plan by checking both
                 boxes above, your ballot with respect to this Item 2 will not be counted.
                 The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                 Accordingly, your vote cast above will be applied in the same manner and in the same
                 amount in Class 3 against each applicable Debtor.



ITEM 3:          Article VIII.D. of the Plan provides for a third-party release (the “Third Party
RELEASE          Release”):
INFORMATION
                 EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
                 CONFIRMATION ORDER, ON AND AFTER OF THE EFFECTIVE DATE, IN
                 EXCHANGE FOR GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY
                 OF WHICH IS HEREBY CONFIRMED, EACH RELEASING PARTY HEREBY
                 RELEASES AND DISCHARGES, AND IS DEEMED TO HAVE RELEASED AND
                 DISCHARGED,     CONCLUSIVELY,  ABSOLUTELY,   UNCONDITIONALLY,
                 IRREVOCABLY AND FOREVER, EACH DEBTOR, REORGANIZED DEBTOR,
                 AND RELEASED PARTY FROM ANY AND ALL CAUSES OF ACTION,
                 WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED
                 OR UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY,
                 CONTRACT, TORT, OR OTHERWISE (INCLUDING ANY DERIVATIVE
                 CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS) THAT SUCH ENTITY
                 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
                 INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN
                 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
                 DEBTORS’    IN-   OR  OUT-OF-COURT    RESTRUCTURING   EFFORTS,
                 INTERCOMPANY TRANSACTIONS BETWEEN THE DEBTORS, THE CHAPTER
                 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
                 NEGOTIATION, OR FILING OF THE DEFINITIVE DOCUMENTATION, RSA OR
                 HEDGE PARTY RSA OR THE RELATED PREPETITION TRANSACTIONS, THE
                 DISCLOSURE STATEMENT, THE DIP FACILITY, THE FIRST LIEN EXIT
                 FACILITY, THE HEDGE PARTY SECURED NOTES, THE SECOND LIEN EXIT
                                       3
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            FACILITY, THE PLAN (INCLUDING, FOR THE AVOIDANCE OF DOUBT, THE
            PLAN SUPPLEMENT), OR ANY RESTRUCTURING TRANSACTION,
            CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
            DOCUMENT RELATING TO ANY OF THE FOREGOING CREATED OR
            ENTERED INTO BEFORE OR DURING THE CHAPTER 11 CASES, ANY
            PREFERENCE, FRAUDULENT TRANSFER, OR OTHER AVOIDANCE CLAIM
            PURSUANT TO CHAPTER 5 OF THE BANKRUPTCY CODE OR OTHER
            APPLICABLE LAW, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT
            OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
            ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
            ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR
            THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
            RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
            OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
            TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR ANY
            CAUSES OF ACTION RELATED TO AN ACT OR OMISSION THAT IS
            DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
            JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD OR FRAUD
            GROUNDED IN DELIBERATE RECKLESSNESS.          NOTWITHSTANDING
            ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE FOREGOING
            RELEASE DOES NOT RELEASE ANY POST-EFFECTIVE DATE OBLIGATIONS
            OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
            TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
            (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
            IMPLEMENT THE PLAN, INCLUDING THE FIRST LIEN EXIT FACILITY
            DOCUMENTS, THE SECOND LIEN EXIT FACILITY DOCUMENTS OR ANY
            CLAIM OR OBLIGATION ARISING UNDER THE PLAN.

            IMPORTANT INFORMATION REGARDING THE THIRD PARTY RELEASE:

            UNDER THE PLAN, “RELEASING PARTIES” MEANS EACH OF, AND IN EACH
            CASE IN ITS CAPACITY AS SUCH: (A) THE DEBTORS; (B) THE REORGANIZED
            DEBTORS; (C) THE CONSENTING PARTIES; (D) THE TERM LENDERS; (E)
            THE SECOND LIEN NOTEHOLDERS; (F) THE ARES EQUITY HOLDERS; (G)
            THE TERM AGENT; (H) THE SECOND LIEN TRUSTEE; (I) THE DIP LENDERS;
            (J) THE DIP AGENT; (K) THE FIRST LIEN EXIT FACILITY LENDERS; (L) THE
            FIRST LIEN EXIT FACILITY AGENT; (M) THE SECOND LIEN EXIT FACILITY
            LENDERS (N) THE SECOND LIEN EXIT FACILITY AGENT; (O) THE HEDGE
            PARTIES; (P) ALL HOLDERS OF CLAIMS; (Q) ALL HOLDERS OF INTERESTS;
            AND (R) WITH RESPECT TO EACH OF THE FOREGOING ENTITIES IN
            CLAUSES (A) THROUGH (R), SUCH ENTITY AND ITS CURRENT AND FORMER
            AFFILIATES AND SUBSIDIARIES, AND SUCH ENTITIES’ AND THEIR
            CURRENT AND FORMER AFFILIATES’ AND SUBSIDIARIES’ CURRENT AND
            FORMER DIRECTORS, MANAGERS, OFFICERS, EQUITY HOLDERS
            (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
            INDIRECTLY), AFFILIATED INVESTMENT FUNDS OR INVESTMENT
            VEHICLES,     MANAGED     ACCOUNTS     OR    FUNDS,   PARTICIPANTS,
            PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND EACH OF
            THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
            DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
            ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, LIMITED
            PARTNERS, GENERAL PARTNERS, ATTORNEYS, ADVISORS, ACCOUNTANTS,
            INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
            PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH COLLECTIVELY.

            AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
            PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN, AS
            SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE RELEASES
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            CONTAINED IN ARTICLE VIII.D OF THE PLAN ONLY IF THE COURT
            DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE RELEASES
            AND ONLY IF YOU (A) VOTE TO REJECT THE PLAN AND (B) FILE AN
            OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT. SUBJECT
            TO ANY FINAL ORDER OF THE BANKRUPTCY COURT TO THE CONTRARY,
            REGARDLESS OF WHETHER THE COURT DETERMINES THAT YOU HAVE A
            RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO ACCEPT THE
            PLAN, (B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE,
            (C) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR
            REJECT THE PLAN, OR (D) VOTE TO REJECT THE PLAN AND FAIL TO FILE
            AN OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT, IN
            EACH CASE YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET
            FORTH IN ARTICLE VIII.D OF THE PLAN.




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ITEM 4:            By signing this Class 3 Ballot, the undersigned certifies to the Bankruptcy Court and the
CERTIFICATIONS,    Debtors:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the holder of the
AND     DELIVERY           Hedge Party Claims being voted; or (ii) the undersigned is an authorized signatory
INSTRUCTIONS               for an Entity that is a holder of the Hedge Party Claims being voted;

                       (b) that the undersigned (or in the case of an authorized signatory, the holder) has
                           received a copy of the Disclosure Statement and the Solicitation Package and
                           acknowledges that the solicitation is being made pursuant to the terms and
                           conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Hedge Party Claims
                           in a single Class; and

                       (d) that no other Class 3 Ballots with respect to the amount of the Hedge Party Claims
                           identified in Item 1 have been cast or, if any other Class 3 Ballots have been cast
                           with respect to such Hedge Party Claims, then any such earlier Class 3 Ballots are
                           hereby revoked.




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BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

Name of Holder:




Signature:
Signatory Name (if other than
the holder):
Title:
Address:
Email Address:
Date Completed:


PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE VOTING AGENT PRIOR TO THE VOTING DEADLINE. PLEASE RETURN THIS
BALLOT VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED BALLOT) TO
GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT LINE.

                          Telephone: +1 (888) 909-0100 (ask for Solicitation Group)

                                      Email: Gastar@bmcgroup.com
                                 and reference “Gastar” in the subject line




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                               Important Information Regarding Releases under the Plan:

The Plan includes the following release provisions:3

Article VIII.C: Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the
adequacy of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocable and forever, released and
discharged by the Debtors, the Reorganized Debtors, and their Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing entities,
from any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates would
have been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure, the Debtors’ in- or out-
of-court restructuring efforts, intercompany transactions between the Debtors, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Definitive Documentation, the RSA or
Hedge Party RSA or the related prepetition transactions, the Disclosure Statement, the DIP Facility, the First
Lien Exit Facility, the Hedge Party Secured Notes, the Second Lien Exit Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document created or entered into in connection with the RSA, the Disclosure
Statement, the DIP Credit Agreement, or the Plan, any preference, fraudulent transfer, or other avoidance
claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the filing of the Chapter
11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation
of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for any Causes of
Action related to an act or omission that is determined in a Final Order by a court of competent jurisdiction
to have constituted actual fraud or fraud grounded in deliberate recklessness. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any post-Effective Date obligations of
any party or entity under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan, including the
First Lien Exit Facility Documents and the Second Lien Exit Facility Documents.

Article VIII.D.: Releases by Holders of Claims and Interests

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after of the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Releasing Party hereby releases and discharges, and is deemed to have released and discharged,
conclusively, absolutely, unconditionally, irrevocably and forever, each Debtor, Reorganized Debtor, and
Released Party from any and all Causes of Action, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise (including
any derivative claims, asserted on behalf of the Debtors) that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions
between the Debtors, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing
of the Definitive Documentation, RSA or Hedge Party RSA or the related prepetition transactions, the
Disclosure Statement, the DIP Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the
Second Lien Exit Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transaction, contract, instrument, release, or other agreement or document relating to any of

3   The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan that may affect your
    rights. If there is any inconsistency between the provisions set forth herein and the Plan, the Plan governs. You should read the Plan before
    completing this ballot.

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the foregoing created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
except for any Causes of Action related to an act or omission that is determined in a Final Order by a court of
competent jurisdiction to have constituted actual fraud or fraud grounded in deliberate recklessness.
Notwithstanding anything contained herein to the contrary, the foregoing release does not release any Post-
Effective Date obligations of any party or entity under the Plan, any Restructuring Transaction, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, including the First Lien Exit Facility Documents, the Second Lien Exit Facility
Documents or any Claim or obligation arising under the Plan.

Article VIII.E: Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is released and exculpated from any Cause of Action for any claim related to any act
or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and related prepetition transactions, the
Disclosure Statement, the Plan, or any Restructuring Transaction, contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, the Plan Supplement, the
Definitive Documentation, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except
for claims related to any act or omission that is determined in a Final Order to have constituted actual fraud
or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
and upon completion of the Plan shall be deemed to have, participated in good faith and in compliance with
the applicable laws with regard to the solicitation of votes and distribution of consideration pursuant to the
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

Article VIII.F: Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan. Notwithstanding anything to the contrary in the foregoing,
the injunction does not enjoin any party under the Plan or under any document, instrument or agreement
(including those included in the Plan Supplement) executed to implement the Plan from bringing an action to
enforce the terms of the Plan or such document, instrument or agreement (including those included in the
Plan Supplement) executed to implement the Plan.
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INSTRUCTIONS                    1.     This ballot contains voting options with respect to the Plan.
FOR COMPLETING
THIS BALLOT:                    2.     To vote, you MUST: (a) fully complete the ballot; (b) clearly indicate your
                                       decision to accept or reject the Plan in Item 2 of this ballot; and (c) sign, date, and
                                       return the ballot via email to gastar@bmcgroup.com and reference “Gastar” in the
                                       subject line by the Voting Deadline, as discussed below.

                                3.     Any ballot submitted that is incomplete or illegible, indicates unclear or
                                       inconsistent votes with respect to the Plan or is improperly signed and returned will
                                       NOT be counted unless the Company otherwise determines.

                                4.     To vote, you MUST deliver your completed ballot so that it is ACTUALLY
                                       RECEIVED by the Voting Agent on or before the Voting Deadline by one of the
                                       methods described above. The Voting Deadline is 12:00 p.m. prevailing Central
                                       Time on October 30, 2018.

                                5.     Any ballot received by the Voting Agent after the Voting Deadline will not be
                                       counted with respect to acceptance or rejection of the Plan, as applicable, unless the
                                       Company otherwise determines. No ballot may be withdrawn or modified after the
                                       Voting Deadline without the Company’s prior consent.

                                6.     Delivery of a ballot reflecting your vote to the Voting Agent will be deemed to have
                                       occurred only when the Voting Agent actually receives the email attaching a
                                       scanned PDF copy of your executed ballot. In all cases, you should allow sufficient
                                       time to assure timely delivery.

                                7.     If you deliver multiple ballots to the Voting Agent, ONLY the last properly
                                       executed ballot timely received will be deemed to reflect your intent and will
                                       supersede and revoke any prior ballot(s).

                                8.     You must vote all of your Class 3 Hedge Party Claims either to accept or reject the
                                       Plan, and may not split your vote. Further, if a holder has multiple Claims within
                                       Class 3, the Company may direct the Voting Agent to aggregate the Claims of any
                                       particular holder within Class 3 for the purpose of counting votes.

                                9.     This ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                                       Interest, or an assertion or admission of a Claim or an Interest, in the Company’s
                                       Chapter 11 Cases.

                                10. You should not rely on any information, representations, or inducements made to
                                    obtain an acceptance of the Plan that are other than as set forth, or are inconsistent
                                    with, the information contained in the Disclosure Statement, the documents
                                    attached to or incorporated in the Disclosure Statement, and the Plan.

                                11. SIGN AND DATE your ballot.4 In addition, please provide your name and mailing
                                    address if it is different from that set forth on the ballot or if no address is preprinted
                                    on the ballot.




4   If you are signing a ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a corporation or
    otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and, if required or requested by the
    Voting Agent, the Company, the Company’s proposed counsel, or the Bankruptcy Court, must submit proper evidence to the requesting
    party of authority to so act on behalf of such holder.

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              12. If your Claim is held in multiple accounts, you may receive more than one ballot
                  coded for each such account for which your Claims are held. Each ballot votes only
                  your Claims indicated on that ballot. Accordingly, complete and return each ballot
                  you receive.

                PLEASE DELIVER YOUR BALLOT PROMPTLY!

   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
      PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY EMAILING
    GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT
    LINE, OR BY CALLING +1 (888) 909-0100 (ASK FOR SOLICITATION GROUP).




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                              Exhibit 4

                        Form of Class 4 Ballot
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                                                                                                        Gastar Exploration Inc., et al.
                                                                                                                       Class 4 Ballot

                                   CLASS 4 BALLOT FOR VOTING ON
                                                                         1
                          THE DEBTORS’ JOINT PREPACKAGED CHAPTER 11 PLAN
IMPORTANT                   PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
NOTE:                       COMPLETING THIS BALLOT AND THE DEBTORS’ JOINT PREPACKAGED
                            CHAPTER 11 PLAN (THE “PLAN”) OF GASTAR EXPLORATION INC., ET AL.
                            (THE “COMPANY”) INCLUDED WITH THIS BALLOT BEFORE COMPLETING THIS
                            BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON THE PLAN, WHICH IS
                            SUBJECT TO BANKRUPTCY COURT APPROVAL AND WHICH CONTEMPLATES A
                            COMPREHENSIVE RESTRUCTURING TRANSACTION (THE “TRANSACTION”)
                            UPON THE EMERGENCE OF THE COMPANY FROM CHAPTER 11. THE COMPANY
                            HAS NOT COMMENCED CHAPTER 11 CASES AS OF THE DATE HEREOF.

DEADLINE:                   THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
                            ACTUALLY RECEIVED BY BMC GROUP, INC. (THE “VOTING AGENT”) PRIOR TO
                            12:00 P.M. PREVAILING CENTRAL TIME ON OCTOBER 30, 2018
                            (THE “VOTING DEADLINE”).

QUESTIONS:                  If you have any questions regarding this ballot, the enclosed voting instructions, the
                            procedures for voting, or need to obtain additional solicitation materials, please contact the
                            Voting Agent by emailing gastar@bmcgroup.com and reference “Gastar” in the subject line or
                            at +1 (888) 909-0100 (ask for Solicitation Group), or at the following address: (a) if by regular
                            mail BMC Group, Inc., Attn: Gastar Ballot Processing, PO Box 90100, Los Angeles,
                            California, 90009, or (b) if by overnight delivery BMC Group, Inc., Attn: Gastar Ballot
                            Processing, 3732 West 120th Street, Hawthorne, California, 90250.

CLASS 4 NOTICE:             You have received this ballot because the Company’s books and records indicate that you are
                                                                        2
                            a holder of a Class 4 Statutory Lien Claim as of October 25, 2018 (the “Voting Record
                            Date”). Accordingly, you have the right to execute this ballot and to vote to accept or reject
                            the Plan.
                            This ballot may not be used for any purpose other than for casting votes with respect to the
                            Plan and making certain certifications with respect to the Plan. If you believe you have
                            received this ballot in error, or if you believe that you have received the wrong ballot, please
                            contact the Voting Agent immediately.
                            You should review the Plan before you vote. You may wish to seek legal advice concerning
                            the proposals related to the Plan.

TRANSACTION                 The Company is soliciting votes to accept or reject the Plan from holders of Hedge Party
BACKGROUND:                 Claims, Statutory Lien Claims, Term Loan Claims, and Second Lien Notes Claims. The
                            Company may file Chapter 11 Cases in a bankruptcy court of competent jurisdiction (the
                            “Bankruptcy Court”) and seek to consummate the Transaction through the chapter 11
                            bankruptcy process and the Plan. The Company will file the Plan and the related disclosure
                            statement (the “Disclosure Statement”) with the Bankruptcy Court on or shortly after the date
                            of the filing of the Chapter 11 Cases. Once completed and returned in accordance with the
                            attached instructions, your vote on the Plan will be counted as set forth herein. Class 4 will
                            accept the Plan if holders of at least two-thirds in amount and more than one-half in number of
                            voting Class 4 Statutory Lien Claims that vote to accept the Plan The Bankruptcy Court may
                            confirm the Plan, which contemplates effecting the Transaction, if the Plan otherwise satisfies
                            the requirements of section 1129 of the Bankruptcy Code, and the Plan then would be binding

1   The anticipated Debtors in the chapter 11 cases, along with the last four digits of each anticipated Debtor’s federal tax identification
    number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the anticipated Debtors’
    service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.

2   Capitalized terms used but not defined herein have the meanings given to them in the Plan.
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               on all holders of Allowed Claims in Class 4, among others.

TREATMENT OF   Subject to the terms and conditions of the Plan, you will receive the following treatment if the
YOUR CLASS 4   Plan is consummated:
STATUTORY
LIEN CLAIMS:   Each holder of an Allowed Class 4 Claim shall receive:
                  i.    on the Effective Date, cash in an amount equal to 50% of the Allowed amount of
                        such holder’s Allowed Class 4 Claim; and
                 ii.    on the date that is six months following the Effective Date, cash in an amount equal
                        to the remaining 50% of the Allowed amount of such holder’s Allowed Class 4
                        Claim.
               For additional discussion of your treatment and rights under the Plan, please read the
               Disclosure Statement and the Plan.




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                                                                              Gastar Exploration Inc., et al.
                                                                                             Class 4 Ballot


VOTING — COMPLETE THIS SECTION

ITEM 1:          The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the
PRINCIPAL        holder of Class 4 Statutory Lien Claims in the following aggregate amount (please fill in the
AMOUNT OF        amount if not otherwise completed):
CLASS 4
STATUTORY LIEN    Amount of Claims: $__________________________
CLAIMS



ITEM 2:          You may vote to accept or reject the Plan. You must check one of the boxes below in order
VOTE TO ACCEPT   to have your vote counted.
OR REJECT THE
PLAN             The holder of the Class 4 Statutory Lien Claims set forth in Item 1 above votes to (please
                 check one and only one):

                       ACCEPT (VOTE FOR) THE PLAN

                       REJECT (VOTE AGAINST) THE PLAN

                 Please note that you are voting all of your Class 4 Statutory Lien Claims either to accept or
                 reject the Plan. You may not split your vote. If you do not indicate that you either accept or
                 reject the Plan by checking the applicable box above, your ballot with respect to this Item 2
                 will not be counted. If you indicate that you both accept and reject the Plan by checking both
                 boxes above, your ballot with respect to this Item 2 will not be counted.
                 The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                 Accordingly, your vote cast above will be applied in the same manner and in the same
                 amount in Class 4 against each applicable Debtor.



ITEM 3:          Article VIII.D. of the Plan provides for a third-party release (the “Third Party
RELEASE          Release”):
INFORMATION
                 EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
                 CONFIRMATION ORDER, ON AND AFTER OF THE EFFECTIVE DATE, IN
                 EXCHANGE FOR GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY
                 OF WHICH IS HEREBY CONFIRMED, EACH RELEASING PARTY HEREBY
                 RELEASES AND DISCHARGES, AND IS DEEMED TO HAVE RELEASED AND
                 DISCHARGED,    CONCLUSIVELY,   ABSOLUTELY,   UNCONDITIONALLY,
                 IRREVOCABLY AND FOREVER, EACH DEBTOR, REORGANIZED DEBTOR,
                 AND RELEASED PARTY FROM ANY AND ALL CAUSES OF ACTION,
                 WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED
                 OR UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY,
                 CONTRACT, TORT, OR OTHERWISE (INCLUDING ANY DERIVATIVE
                 CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS) THAT SUCH ENTITY
                 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
                 INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN
                 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
                 DEBTORS’   IN-   OR   OUT-OF-COURT    RESTRUCTURING   EFFORTS,
                 INTERCOMPANY TRANSACTIONS BETWEEN THE DEBTORS, THE CHAPTER
                 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
                 NEGOTIATION, OR FILING OF THE DEFINITIVE DOCUMENTATION, RSA OR
                 HEDGE PARTY RSA OR THE RELATED PREPETITION TRANSACTIONS, THE
                 DISCLOSURE STATEMENT, THE DIP FACILITY, THE FIRST LIEN EXIT
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            FACILITY, THE HEDGE PARTY SECURED NOTES, THE SECOND LIEN EXIT
            FACILITY, THE PLAN (INCLUDING, FOR THE AVOIDANCE OF DOUBT, THE
            PLAN SUPPLEMENT), OR ANY RESTRUCTURING TRANSACTION,
            CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
            DOCUMENT RELATING TO ANY OF THE FOREGOING CREATED OR
            ENTERED INTO BEFORE OR DURING THE CHAPTER 11 CASES, ANY
            PREFERENCE, FRAUDULENT TRANSFER, OR OTHER AVOIDANCE CLAIM
            PURSUANT TO CHAPTER 5 OF THE BANKRUPTCY CODE OR OTHER
            APPLICABLE LAW, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT
            OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
            ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
            ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR
            THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
            RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
            OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
            TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR ANY
            CAUSES OF ACTION RELATED TO AN ACT OR OMISSION THAT IS
            DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
            JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD OR FRAUD
            GROUNDED IN DELIBERATE RECKLESSNESS.          NOTWITHSTANDING
            ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE FOREGOING
            RELEASE DOES NOT RELEASE ANY POST-EFFECTIVE DATE OBLIGATIONS
            OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
            TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
            (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
            IMPLEMENT THE PLAN, INCLUDING THE FIRST LIEN EXIT FACILITY
            DOCUMENTS, THE SECOND LIEN EXIT FACILITY DOCUMENTS OR ANY
            CLAIM OR OBLIGATION ARISING UNDER THE PLAN.

            IMPORTANT INFORMATION REGARDING THE THIRD PARTY RELEASE:

            UNDER THE PLAN, “RELEASING PARTIES” MEANS EACH OF, AND IN EACH
            CASE IN ITS CAPACITY AS SUCH: (A) THE DEBTORS; (B) THE REORGANIZED
            DEBTORS; (C) THE CONSENTING PARTIES; (D) THE TERM LENDERS; (E)
            THE SECOND LIEN NOTEHOLDERS; (F) THE ARES EQUITY HOLDERS; (G)
            THE TERM AGENT; (H) THE SECOND LIEN TRUSTEE; (I) THE DIP LENDERS;
            (J) THE DIP AGENT; (K) THE FIRST LIEN EXIT FACILITY LENDERS; (L) THE
            FIRST LIEN EXIT FACILITY AGENT; (M) THE SECOND LIEN EXIT FACILITY
            LENDERS (N) THE SECOND LIEN EXIT FACILITY AGENT; (O) THE HEDGE
            PARTIES; (P) ALL HOLDERS OF CLAIMS; (Q) ALL HOLDERS OF INTERESTS;
            AND (R) WITH RESPECT TO EACH OF THE FOREGOING ENTITIES IN
            CLAUSES (A) THROUGH (R), SUCH ENTITY AND ITS CURRENT AND FORMER
            AFFILIATES AND SUBSIDIARIES, AND SUCH ENTITIES’ AND THEIR
            CURRENT AND FORMER AFFILIATES’ AND SUBSIDIARIES’ CURRENT AND
            FORMER DIRECTORS, MANAGERS, OFFICERS, EQUITY HOLDERS
            (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
            INDIRECTLY), AFFILIATED INVESTMENT FUNDS OR INVESTMENT
            VEHICLES,     MANAGED     ACCOUNTS     OR    FUNDS,   PARTICIPANTS,
            PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND EACH OF
            THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
            DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
            ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, LIMITED
            PARTNERS, GENERAL PARTNERS, ATTORNEYS, ADVISORS, ACCOUNTANTS,
            INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
            PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH COLLECTIVELY.

            AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
            PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN, AS
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            SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE RELEASES
            CONTAINED IN ARTICLE VIII.D OF THE PLAN ONLY IF THE COURT
            DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE RELEASES
            AND ONLY IF YOU (A) VOTE TO REJECT THE PLAN AND (B) FILE AN
            OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT. SUBJECT
            TO ANY FINAL ORDER OF THE BANKRUPTCY COURT TO THE CONTRARY,
            REGARDLESS OF WHETHER THE COURT DETERMINES THAT YOU HAVE A
            RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO ACCEPT THE
            PLAN, (B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE,
            (C) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR
            REJECT THE PLAN, OR (D) VOTE TO REJECT THE PLAN AND FAIL TO FILE
            AN OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT, IN
            EACH CASE YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET
            FORTH IN ARTICLE VIII.D OF THE PLAN.




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ITEM 4:            By signing this Class 4 Ballot, the undersigned certifies to the Bankruptcy Court and the
CERTIFICATIONS,    Debtors:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the holder of the
AND     DELIVERY           Statutory Lien Claims being voted; or (ii) the undersigned is an authorized signatory
INSTRUCTIONS               for an Entity that is a holder of the Statutory Lien Claims being voted;

                       (b) that the undersigned (or in the case of an authorized signatory, the holder) has
                           received a copy of the Disclosure Statement and the Solicitation Package and
                           acknowledges that the solicitation is being made pursuant to the terms and
                           conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Statutory Lien Claims
                           in a single Class; and

                       (d) that no other Class 4 Ballots with respect to the amount of the Statutory Lien Claims
                           identified in Item 1 have been cast or, if any other Class 4 Ballots have been cast
                           with respect to such Statutory Lien Claims, then any such earlier Class 4 Ballots are
                           hereby revoked.




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BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

Name of Holder:




Signature:
Signatory Name (if other than
the holder):
Title:
Address:
Email Address:
Date Completed:


PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE VOTING AGENT PRIOR TO THE VOTING DEADLINE. PLEASE RETURN THIS
BALLOT VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED BALLOT) TO
GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT LINE.

                          Telephone: +1 (888) 909-0100 (ask for Solicitation Group)

                                      Email: Gastar@bmcgroup.com
                                 and reference “Gastar” in the subject line




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                               Important Information Regarding Releases under the Plan:

The Plan includes the following release provisions:3

Article VIII.C: Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the
adequacy of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocable and forever, released and
discharged by the Debtors, the Reorganized Debtors, and their Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing entities,
from any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates would
have been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure, the Debtors’ in- or out-
of-court restructuring efforts, intercompany transactions between the Debtors, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Definitive Documentation, the RSA or
Hedge Party RSA or the related prepetition transactions, the Disclosure Statement, the DIP Facility, the First
Lien Exit Facility, the Hedge Party Secured Notes, the Second Lien Exit Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document created or entered into in connection with the RSA, the Disclosure
Statement, the DIP Credit Agreement, or the Plan, any preference, fraudulent transfer, or other avoidance
claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the filing of the Chapter
11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation
of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for any Causes of
Action related to an act or omission that is determined in a Final Order by a court competent of jurisdiction
to have constituted actual fraud or fraud grounded in deliberate recklessness. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any post-Effective Date obligations of
any party or entity under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan, including the
First Lien Exit Facility Documents and the Second Lien Exit Facility Documents.

Article VIII.D.: Releases by Holders of Claims and Interests

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after of the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Releasing Party hereby releases and discharges, and is deemed to have released and discharged,
conclusively, absolutely, unconditionally, irrevocably and forever, each Debtor, Reorganized Debtor, and
Released Party from any and all Causes of Action, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise (including
any derivative claims, asserted on behalf of the Debtors) that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions
between the Debtors, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing
of the Definitive Documentation, RSA or Hedge Party RSA or the related prepetition transactions, the
Disclosure Statement, the DIP Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the
Second Lien Exit Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transaction, contract, instrument, release, or other agreement or document relating to any of

3   The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan that may affect your
    rights. If there is any inconsistency between the provisions set forth herein and the Plan, the Plan governs. You should read the Plan before
    completing this ballot.

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the foregoing created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
except for any Causes of Action related to an act or omission that is determined in a Final Order by a court of
competent jurisdiction to have constituted actual fraud or fraud grounded in deliberate recklessness.
Notwithstanding anything contained herein to the contrary, the foregoing release does not release any Post-
Effective Date obligations of any party or entity under the Plan, any Restructuring Transaction, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, including the First Lien Exit Facility Documents, the Second Lien Exit Facility
Documents or any Claim or obligation arising under the Plan.

Article VIII.E: Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is released and exculpated from any Cause of Action for any claim related to any act
or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and related prepetition transactions, the
Disclosure Statement, the Plan, or any Restructuring Transaction, contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, the Plan Supplement, the
Definitive Documentation, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except
for claims related to any act or omission that is determined in a Final Order to have constituted actual fraud
or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
and upon completion of the Plan shall be deemed to have, participated in good faith and in compliance with
the applicable laws with regard to the solicitation of votes and distribution of consideration pursuant to the
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

Article VIII.F: Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan. Notwithstanding anything to the contrary in the foregoing,
the injunction does not enjoin any party under the Plan or under any document, instrument or agreement
(including those included in the Plan Supplement) executed to implement the Plan from bringing an action to
enforce the terms of the Plan or such document, instrument or agreement (including those included in the
Plan Supplement) executed to implement the Plan.
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INSTRUCTIONS                    1.     This ballot contains voting options with respect to the Plan.
FOR COMPLETING
THIS BALLOT:                    2.     To vote, you MUST: (a) fully complete the ballot; (b) clearly indicate your
                                       decision to accept or reject the Plan in Item 2 of this ballot; and (c) sign, date, and
                                       return the ballot via email to gastar@bmcgroup.com and reference “Gastar” in the
                                       subject line by the Voting Deadline, as discussed below.

                                3.     Any ballot submitted that is incomplete or illegible, indicates unclear or
                                       inconsistent votes with respect to the Plan or is improperly signed and returned will
                                       NOT be counted unless the Company otherwise determines.

                                4.     To vote, you MUST deliver your completed ballot so that it is ACTUALLY
                                       RECEIVED by the Voting Agent on or before the Voting Deadline by one of the
                                       methods described above. The Voting Deadline is 12:00 p.m. prevailing Central
                                       Time on October 30, 2018.

                                5.     Any ballot received by the Voting Agent after the Voting Deadline will not be
                                       counted with respect to acceptance or rejection of the Plan, as applicable, unless the
                                       Company otherwise determines. No ballot may be withdrawn or modified after the
                                       Voting Deadline without the Company’s prior consent.

                                6.     Delivery of a ballot reflecting your vote to the Voting Agent will be deemed to have
                                       occurred only when the Voting Agent actually receives the email attaching a
                                       scanned PDF copy of your executed ballot. In all cases, you should allow sufficient
                                       time to assure timely delivery.

                                7.     If you deliver multiple ballots to the Voting Agent, ONLY the last properly
                                       executed ballot timely received will be deemed to reflect your intent and will
                                       supersede and revoke any prior ballot(s).

                                8.     You must vote all of your Class 4 Statutory Lien Claims either to accept or reject
                                       the Plan, and may not split your vote. Further, if a holder has multiple Claims
                                       within Class 4, the Company may direct the Voting Agent to aggregate the Claims
                                       of any particular holder within Class 4 for the purpose of counting votes.

                                9.     This ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                                       Interest, or an assertion or admission of a Claim or an Interest, in the Company’s
                                       Chapter 11 Cases.

                                10. You should not rely on any information, representations, or inducements made to
                                    obtain an acceptance of the Plan that are other than as set forth, or are inconsistent
                                    with, the information contained in the Disclosure Statement, the documents
                                    attached to or incorporated in the Disclosure Statement, and the Plan.

                                11. SIGN AND DATE your ballot.4 In addition, please provide your name and mailing
                                    address if it is different from that set forth on the ballot or if no address is preprinted
                                    on the ballot.




4   If you are signing a ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a corporation or
    otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and, if required or requested by the
    Voting Agent, the Company, the Company’s proposed counsel, or the Bankruptcy Court, must submit proper evidence to the requesting
    party of authority to so act on behalf of such holder.

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              12. If your Claim is held in multiple accounts, you may receive more than one ballot
                  coded for each such account for which your Claims are held. Each ballot votes only
                  your Claims indicated on that ballot. Accordingly, complete and return each ballot
                  you receive.

                PLEASE DELIVER YOUR BALLOT PROMPTLY!

   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
      PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY EMAILING
    GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT
    LINE, OR BY CALLING +1 (888) 909-0100 (ASK FOR SOLICITATION GROUP).




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                              Exhibit 5

                        Form of Class 5 Ballot
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                                                                                                        Gastar Exploration Inc., et al.
                                                                                                                       Class 5 Ballot

                                   CLASS 5 BALLOT FOR VOTING ON
                                                                         1
                          THE DEBTORS’ JOINT PREPACKAGED CHAPTER 11 PLAN
IMPORTANT                   PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
NOTE:                       COMPLETING THIS BALLOT AND THE DEBTORS’ JOINT PREPACKAGED
                            CHAPTER 11 PLAN (THE “PLAN”) OF GASTAR EXPLORATION INC., ET AL.
                            (THE “COMPANY”) INCLUDED WITH THIS BALLOT BEFORE COMPLETING THIS
                            BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON THE PLAN, WHICH IS
                            SUBJECT TO BANKRUPTCY COURT APPROVAL AND WHICH CONTEMPLATES A
                            COMPREHENSIVE RESTRUCTURING TRANSACTION (THE “TRANSACTION”)
                            UPON THE EMERGENCE OF THE COMPANY FROM CHAPTER 11. THE COMPANY
                            HAS NOT COMMENCED CHAPTER 11 CASES AS OF THE DATE HEREOF.

DEADLINE:                   THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
                            ACTUALLY RECEIVED BY BMC GROUP, INC. (THE “VOTING AGENT”) PRIOR TO
                            12:00 P.M. PREVAILING CENTRAL TIME ON OCTOBER 30, 2018
                            (THE “VOTING DEADLINE”).

QUESTIONS:                  If you have any questions regarding this ballot, the enclosed voting instructions, the
                            procedures for voting, or need to obtain additional solicitation materials, please contact the
                            Voting Agent by emailing gastar@bmcgroup.com and reference “Gastar” in the subject line or
                            at +1 (888) 909-0100 (ask for Solicitation Group), or at the following address: (a) if by regular
                            mail BMC Group, Inc., Attn: Gastar Ballot Processing, PO Box 90100, Los Angeles,
                            California, 90009, or (b) if by overnight delivery BMC Group, Inc., Attn: Gastar Ballot
                            Processing, 3732 West 120th Street, Hawthorne, California, 90250.

CLASS 5 NOTICE:             You have received this ballot because the Company’s books and records indicate that you are
                                                                    2
                            a holder of a Class 5 Term Loan Claim as of October 25, 2018 (the “Voting Record Date”).
                            Accordingly, you have the right to execute this ballot and to vote to accept or reject the Plan.
                            This ballot may not be used for any purpose other than for casting votes with respect to the
                            Plan and making certain certifications with respect to the Plan. If you believe you have
                            received this ballot in error, or if you believe that you have received the wrong ballot, please
                            contact the Voting Agent immediately.
                            You should review the Plan before you vote. You may wish to seek legal advice concerning
                            the proposals related to the Plan.

TRANSACTION                 The Company is soliciting votes to accept or reject the Plan from holders of Hedge Party
BACKGROUND:                 Claims, Statutory Lien Claims, Term Loan Claims, and Second Lien Notes Claims. The
                            Company may file Chapter 11 Cases in a bankruptcy court of competent jurisdiction (the
                            “Bankruptcy Court”) and seek to consummate the Transaction through the chapter 11
                            bankruptcy process and the Plan. The Company will file the Plan and the related disclosure
                            statement (the “Disclosure Statement”) with the Bankruptcy Court on or shortly after the date
                            of the filing of the Chapter 11 Cases. Once completed and returned in accordance with the
                            attached instructions, your vote on the Plan will be counted as set forth herein. Class 5 will
                            accept the Plan if holders of at least two-thirds in amount and more than one-half in number of
                            voting Class 5 Term Loan Claims that vote to accept the Plan The Bankruptcy Court may
                            confirm the Plan, which contemplates effecting the Transaction, if the Plan otherwise satisfies
                            the requirements of section 1129 of the Bankruptcy Code, and the Plan then would be binding


1   The anticipated Debtors in the chapter 11 cases, along with the last four digits of each anticipated Debtor’s federal tax identification
    number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the anticipated Debtors’
    service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.

2   Capitalized terms used but not defined herein have the meanings given to them in the Plan.
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               on all holders of Allowed Claims in Class 5, among others.

TREATMENT OF   Subject to the terms and conditions of the Plan, you will receive the following treatment if the
YOUR CLASS 5   Plan is consummated:
TERM LOAN
CLAIMS:        Each holder of an Allowed Class 5 Claim shall receive:
                  i.    only to the extent there is remaining availability under the the Second Lien Exit
                        Facility after the refinancing and satisfaction of all Allowed DIP Claims in
                        accordance with Article II.B of this Plan, its Pro Rata share of participation in such
                        remaining availability under the Second Lien Exit Facility in an equal face amount
                        not to exceed $200 million; and
                 ii.    to the extent there are remaining Allowed Class 5 Claims not refinanced or otherwise
                        satisfied pursuant to the Second Lien Exit Facility (which remaining amounts shall
                        constitute Equitized Senior Obligations) its Pro Rata share (measured by reference to
                        the aggregate amount of Equitized Senior Obligations, Second Lien Notes Claims,
                        and, as applicable upon occurrence of a DIP Toggle Event, General Unsecured
                        Claims) of 100% of the New Common Equity, subject to dilution on account of, as
                        applicable, the Management Incentive Plan and the New Warrants.
               For additional discussion of your treatment and rights under the Plan, please read the
               Disclosure Statement and the Plan.




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                                                                                             Class 5 Ballot


VOTING — COMPLETE THIS SECTION

ITEM 1:          The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the
PRINCIPAL        holder of Class 5 Term Loan Claims in the following aggregate amount (please fill in the
AMOUNT OF        amount if not otherwise completed):
CLASS 5 TERM
LOAN CLAIMS       Amount of Claims: $__________________________



ITEM 2:          You may vote to accept or reject the Plan. You must check one of the boxes below in order
VOTE TO ACCEPT   to have your vote counted.
OR REJECT THE
PLAN             The holder of the Class 5 Term Loan Claims set forth in Item 1 above votes to (please check
                 one and only one):

                       ACCEPT (VOTE FOR) THE PLAN

                       REJECT (VOTE AGAINST) THE PLAN

                 Please note that you are voting all of your Class 5 Term Loan Claims either to accept or
                 reject the Plan. You may not split your vote. If you do not indicate that you either accept or
                 reject the Plan by checking the applicable box above, your ballot with respect to this Item 2
                 will not be counted. If you indicate that you both accept and reject the Plan by checking both
                 boxes above, your ballot with respect to this Item 2 will not be counted.
                 The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                 Accordingly, your vote cast above will be applied in the same manner and in the same
                 amount in Class 5 against each applicable Debtor.



ITEM 3:          Article VIII.D. of the Plan provides for a third-party release (the “Third Party
RELEASE          Release”):
INFORMATION
                 EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
                 CONFIRMATION ORDER, ON AND AFTER OF THE EFFECTIVE DATE, IN
                 EXCHANGE FOR GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY
                 OF WHICH IS HEREBY CONFIRMED, EACH RELEASING PARTY HEREBY
                 RELEASES AND DISCHARGES, AND IS DEEMED TO HAVE RELEASED AND
                 DISCHARGED,     CONCLUSIVELY,  ABSOLUTELY,   UNCONDITIONALLY,
                 IRREVOCABLY AND FOREVER, EACH DEBTOR, REORGANIZED DEBTOR,
                 AND RELEASED PARTY FROM ANY AND ALL CAUSES OF ACTION,
                 WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED
                 OR UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY,
                 CONTRACT, TORT, OR OTHERWISE (INCLUDING ANY DERIVATIVE
                 CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS) THAT SUCH ENTITY
                 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
                 INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN
                 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
                 DEBTORS’    IN-   OR  OUT-OF-COURT    RESTRUCTURING   EFFORTS,
                 INTERCOMPANY TRANSACTIONS BETWEEN THE DEBTORS, THE CHAPTER
                 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
                 NEGOTIATION, OR FILING OF THE DEFINITIVE DOCUMENTATION, RSA OR
                 HEDGE PARTY RSA OR THE RELATED PREPETITION TRANSACTIONS, THE
                 DISCLOSURE STATEMENT, THE DIP FACILITY, THE FIRST LIEN EXIT
                 FACILITY, THE HEDGE PARTY SECURED NOTES, THE SECOND LIEN EXIT
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            FACILITY, THE PLAN (INCLUDING, FOR THE AVOIDANCE OF DOUBT, THE
            PLAN SUPPLEMENT), OR ANY RESTRUCTURING TRANSACTION,
            CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
            DOCUMENT RELATING TO ANY OF THE FOREGOING CREATED OR
            ENTERED INTO BEFORE OR DURING THE CHAPTER 11 CASES, ANY
            PREFERENCE, FRAUDULENT TRANSFER, OR OTHER AVOIDANCE CLAIM
            PURSUANT TO CHAPTER 5 OF THE BANKRUPTCY CODE OR OTHER
            APPLICABLE LAW, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT
            OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
            ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
            ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR
            THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
            RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
            OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
            TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR ANY
            CAUSES OF ACTION RELATED TO AN ACT OR OMISSION THAT IS
            DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
            JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD OR FRAUD
            GROUNDED IN DELIBERATE RECKLESSNESS.          NOTWITHSTANDING
            ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE FOREGOING
            RELEASE DOES NOT RELEASE ANY POST-EFFECTIVE DATE OBLIGATIONS
            OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
            TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
            (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
            IMPLEMENT THE PLAN, INCLUDING THE FIRST LIEN EXIT FACILITY
            DOCUMENTS, THE SECOND LIEN EXIT FACILITY DOCUMENTS OR ANY
            CLAIM OR OBLIGATION ARISING UNDER THE PLAN.

            IMPORTANT INFORMATION REGARDING THE THIRD PARTY RELEASE:

            UNDER THE PLAN, “RELEASING PARTIES” MEANS EACH OF, AND IN EACH
            CASE IN ITS CAPACITY AS SUCH: (A) THE DEBTORS; (B) THE REORGANIZED
            DEBTORS; (C) THE CONSENTING PARTIES; (D) THE TERM LENDERS; (E)
            THE SECOND LIEN NOTEHOLDERS; (F) THE ARES EQUITY HOLDERS; (G)
            THE TERM AGENT; (H) THE SECOND LIEN TRUSTEE; (I) THE DIP LENDERS;
            (J) THE DIP AGENT; (K) THE FIRST LIEN EXIT FACILITY LENDERS; (L) THE
            FIRST LIEN EXIT FACILITY AGENT; (M) THE SECOND LIEN EXIT FACILITY
            LENDERS (N) THE SECOND LIEN EXIT FACILITY AGENT; (O) THE HEDGE
            PARTIES; (P) ALL HOLDERS OF CLAIMS; (Q) ALL HOLDERS OF INTERESTS;
            AND (R) WITH RESPECT TO EACH OF THE FOREGOING ENTITIES IN
            CLAUSES (A) THROUGH (R), SUCH ENTITY AND ITS CURRENT AND FORMER
            AFFILIATES AND SUBSIDIARIES, AND SUCH ENTITIES’ AND THEIR
            CURRENT AND FORMER AFFILIATES’ AND SUBSIDIARIES’ CURRENT AND
            FORMER DIRECTORS, MANAGERS, OFFICERS, EQUITY HOLDERS
            (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
            INDIRECTLY), AFFILIATED INVESTMENT FUNDS OR INVESTMENT
            VEHICLES,     MANAGED     ACCOUNTS     OR    FUNDS,   PARTICIPANTS,
            PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND EACH OF
            THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
            DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
            ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, LIMITED
            PARTNERS, GENERAL PARTNERS, ATTORNEYS, ADVISORS, ACCOUNTANTS,
            INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
            PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH COLLECTIVELY.

            AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
            PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN, AS
            SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE RELEASES
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            CONTAINED IN ARTICLE VIII.D OF THE PLAN ONLY IF THE COURT
            DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE RELEASES
            AND ONLY IF YOU (A) VOTE TO REJECT THE PLAN AND (B) FILE AN
            OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT. SUBJECT
            TO ANY FINAL ORDER OF THE BANKRUPTCY COURT TO THE CONTRARY,
            REGARDLESS OF WHETHER THE COURT DETERMINES THAT YOU HAVE A
            RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO ACCEPT THE
            PLAN, (B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE,
            (C) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR
            REJECT THE PLAN, OR (D) VOTE TO REJECT THE PLAN AND FAIL TO FILE
            AN OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT, IN
            EACH CASE YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET
            FORTH IN ARTICLE VIII.D OF THE PLAN.




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ITEM 4:            By signing this Class 5 Ballot, the undersigned certifies to the Bankruptcy Court and the
CERTIFICATIONS,    Debtors:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the holder of the
AND     DELIVERY           Term Loan Claims being voted; or (ii) the undersigned is an authorized signatory
INSTRUCTIONS               for an Entity that is a holder of the Term Loan Claims being voted;

                       (b) that the undersigned (or in the case of an authorized signatory, the holder) has
                           received a copy of the Disclosure Statement and the Solicitation Package and
                           acknowledges that the solicitation is being made pursuant to the terms and
                           conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Term Loan Claims in
                           a single Class; and

                       (d) that no other Class 5 Ballots with respect to the amount of the Term Loan Claims
                           identified in Item 1 have been cast or, if any other Class 5 Ballots have been cast
                           with respect to such Term Loan Claims, then any such earlier Class 5 Ballots are
                           hereby revoked.




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BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

Name of Holder:




Signature:
Signatory Name (if other than
the holder):
Title:
Address:
Email Address:
Date Completed:


PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE VOTING AGENT PRIOR TO THE VOTING DEADLINE. PLEASE RETURN THIS
BALLOT VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED BALLOT) TO
GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT LINE.

                          Telephone: +1 (888) 909-0100 (ask for Solicitation Group)

                                      Email: Gastar@bmcgroup.com
                                 and reference “Gastar” in the subject line




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                               Important Information Regarding Releases under the Plan:

The Plan includes the following release provisions:3

Article VIII.C: Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the
adequacy of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocable and forever, released and
discharged by the Debtors, the Reorganized Debtors, and their Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing entities,
from any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates would
have been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure, the Debtors’ in- or out-
of-court restructuring efforts, intercompany transactions between the Debtors, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Definitive Documentation, the RSA or
Hedge Party RSA or the related prepetition transactions, the Disclosure Statement, the DIP Facility, the First
Lien Exit Facility, the Hedge Party Secured Notes, the Second Lien Exit Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document created or entered into in connection with the RSA, the Disclosure
Statement, the DIP Credit Agreement, or the Plan, any preference, fraudulent transfer, or other avoidance
claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the filing of the Chapter
11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation
of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for any Causes of
Action related to an act or omission that is determined in a Final Order by a court of competent jurisdiction
to have constituted actual fraud or fraud grounded in deliberate recklessness. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any post-Effective Date obligations of
any party or entity under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan, including the
First Lien Exit Facility Documents and the Second Lien Exit Facility Documents.

Article VIII.D.: Releases by Holders of Claims and Interests

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after of the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Releasing Party hereby releases and discharges, and is deemed to have released and discharged,
conclusively, absolutely, unconditionally, irrevocably and forever, each Debtor, Reorganized Debtor, and
Released Party from any and all Causes of Action, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise (including
any derivative claims, asserted on behalf of the Debtors) that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions
between the Debtors, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing
of the Definitive Documentation, RSA or Hedge Party RSA or the related prepetition transactions, the
Disclosure Statement, the DIP Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the
Second Lien Exit Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transaction, contract, instrument, release, or other agreement or document relating to any of

3   The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan that may affect your
    rights. If there is any inconsistency between the provisions set forth herein and the Plan, the Plan governs. You should read the Plan before
    completing this ballot.

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the foregoing created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
except for any Causes of Action related to an act or omission that is determined in a Final Order by a court of
competent jurisdiction to have constituted actual fraud or fraud grounded in deliberate recklessness.
Notwithstanding anything contained herein to the contrary, the foregoing release does not release any Post-
Effective Date obligations of any party or entity under the Plan, any Restructuring Transaction, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, including the First Lien Exit Facility Documents, the Second Lien Exit Facility
Documents or any Claim or obligation arising under the Plan.

Article VIII.E: Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is released and exculpated from any Cause of Action for any claim related to any act
or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and related prepetition transactions, the
Disclosure Statement, the Plan, or any Restructuring Transaction, contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, the Plan Supplement, the
Definitive Documentation, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except
for claims related to any act or omission that is determined in a Final Order to have constituted actual fraud
or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
and upon completion of the Plan shall be deemed to have, participated in good faith and in compliance with
the applicable laws with regard to the solicitation of votes and distribution of consideration pursuant to the
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

Article VIII.F: Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan. Notwithstanding anything to the contrary in the foregoing,
the injunction does not enjoin any party under the Plan or under any document, instrument or agreement
(including those included in the Plan Supplement) executed to implement the Plan from bringing an action to
enforce the terms of the Plan or such document, instrument or agreement (including those included in the
Plan Supplement) executed to implement the Plan.
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INSTRUCTIONS                    1.     This ballot contains voting options with respect to the Plan.
FOR COMPLETING
THIS BALLOT:                    2.     To vote, you MUST: (a) fully complete the ballot; (b) clearly indicate your
                                       decision to accept or reject the Plan in Item 2 of this ballot; and (c) sign, date, and
                                       return the ballot via email to gastar@bmcgroup.com and reference “Gastar” in the
                                       subject line by the Voting Deadline, as discussed below.

                                3.     Any ballot submitted that is incomplete or illegible, indicates unclear or
                                       inconsistent votes with respect to the Plan or is improperly signed and returned will
                                       NOT be counted unless the Company otherwise determines.

                                4.     To vote, you MUST deliver your completed ballot so that it is ACTUALLY
                                       RECEIVED by the Voting Agent on or before the Voting Deadline by one of the
                                       methods described above. The Voting Deadline is 12:00 p.m. prevailing Central
                                       Time on October 30, 2018.

                                5.     Any ballot received by the Voting Agent after the Voting Deadline will not be
                                       counted with respect to acceptance or rejection of the Plan, as applicable, unless the
                                       Company otherwise determines. No ballot may be withdrawn or modified after the
                                       Voting Deadline without the Company’s prior consent.

                                6.     Delivery of a ballot reflecting your vote to the Voting Agent will be deemed to have
                                       occurred only when the Voting Agent actually receives the email attaching a
                                       scanned PDF copy of your executed ballot. In all cases, you should allow sufficient
                                       time to assure timely delivery.

                                7.     If you deliver multiple ballots to the Voting Agent, ONLY the last properly
                                       executed ballot timely received will be deemed to reflect your intent and will
                                       supersede and revoke any prior ballot(s).

                                8.     You must vote all of your Class 5 Term Loan Claims either to accept or reject the
                                       Plan, and may not split your vote. Further, if a holder has multiple Claims within
                                       Class 5, the Company may direct the Voting Agent to aggregate the Claims of any
                                       particular holder within Class 5 for the purpose of counting votes.

                                9.     This ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                                       Interest, or an assertion or admission of a Claim or an Interest, in the Company’s
                                       Chapter 11 Cases.

                                10. You should not rely on any information, representations, or inducements made to
                                    obtain an acceptance of the Plan that are other than as set forth, or are inconsistent
                                    with, the information contained in the Disclosure Statement, the documents
                                    attached to or incorporated in the Disclosure Statement, and the Plan.

                                11. SIGN AND DATE your ballot.4 In addition, please provide your name and mailing
                                    address if it is different from that set forth on the ballot or if no address is preprinted
                                    on the ballot.




4   If you are signing a ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a corporation or
    otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and, if required or requested by the
    Voting Agent, the Company, the Company’s proposed counsel, or the Bankruptcy Court, must submit proper evidence to the requesting
    party of authority to so act on behalf of such holder.

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              12. If your Claim is held in multiple accounts, you may receive more than one ballot
                  coded for each such account for which your Claims are held. Each ballot votes only
                  your Claims indicated on that ballot. Accordingly, complete and return each ballot
                  you receive.

                PLEASE DELIVER YOUR BALLOT PROMPTLY!

   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
      PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY EMAILING
    GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT
    LINE, OR BY CALLING +1 (888) 909-0100 (ASK FOR SOLICITATION GROUP).




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                              Exhibit 6

                        Form of Class 6 Ballot
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                                                                                                        Gastar Exploration Inc., et al.
                                                                                                                       Class 6 Ballot

                                   CLASS 6 BALLOT FOR VOTING ON
                                                                         1
                          THE DEBTORS’ JOINT PREPACKAGED CHAPTER 11 PLAN
IMPORTANT                   PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
NOTE:                       COMPLETING THIS BALLOT AND THE DEBTORS’ JOINT PREPACKAGED
                            CHAPTER 11 PLAN (THE “PLAN”) OF GASTAR EXPLORATION INC., ET AL.
                            (THE “COMPANY”) INCLUDED WITH THIS BALLOT BEFORE COMPLETING THIS
                            BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON THE PLAN, WHICH IS
                            SUBJECT TO BANKRUPTCY COURT APPROVAL AND WHICH CONTEMPLATES A
                            COMPREHENSIVE RESTRUCTURING TRANSACTION (THE “TRANSACTION”)
                            UPON THE EMERGENCE OF THE COMPANY FROM CHAPTER 11. THE COMPANY
                            HAS NOT COMMENCED CHAPTER 11 CASES AS OF THE DATE HEREOF.

DEADLINE:                   THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS
                            ACTUALLY RECEIVED BY BMC GROUP, INC. (THE “VOTING AGENT”) PRIOR TO
                            12:00 P.M. PREVAILING CENTRAL TIME ON OCTOBER 30, 2018
                            (THE “VOTING DEADLINE”).

QUESTIONS:                  If you have any questions regarding this ballot, the enclosed voting instructions, the
                            procedures for voting, or need to obtain additional solicitation materials, please contact the
                            Voting Agent by emailing gastar@bmcgroup.com and reference “Gastar” in the subject line or
                            at +1 (888) 909-0100 (ask for Solicitation Group), or at the following address: (a) if by regular
                            mail BMC Group, Inc., Attn: Gastar Ballot Processing, PO Box 90100, Los Angeles,
                            California, 90009, or (b) if by overnight delivery BMC Group, Inc., Attn: Gastar Ballot
                            Processing, 3732 West 120th Street, Hawthorne, California, 90250.

CLASS 6 NOTICE:             You have received this ballot because the Company’s books and records indicate that you are
                                                                          2
                            a holder of a Class 6 Second Lien Notes Claim as of October 25, 2018 (the “Voting Record
                            Date”). Accordingly, you have the right to execute this ballot and to vote to accept or reject
                            the Plan.
                            This ballot may not be used for any purpose other than for casting votes with respect to the
                            Plan and making certain certifications with respect to the Plan. If you believe you have
                            received this ballot in error, or if you believe that you have received the wrong ballot, please
                            contact the Voting Agent immediately.
                            You should review the Plan before you vote. You may wish to seek legal advice concerning
                            the proposals related to the Plan.

TRANSACTION                 The Company is soliciting votes to accept or reject the Plan from holders of Hedge Party
BACKGROUND:                 Claims, Statutory Lien Claims, Term Loan Claims, and Second Lien Notes Claims. The
                            Company may file Chapter 11 Cases in a bankruptcy court of competent jurisdiction (the
                            “Bankruptcy Court”) and seek to consummate the Transaction through the chapter 11
                            bankruptcy process and the Plan. The Company will file the Plan and the related disclosure
                            statement (the “Disclosure Statement”) with the Bankruptcy Court on or shortly after the date
                            of the filing of the Chapter 11 Cases. Once completed and returned in accordance with the
                            attached instructions, your vote on the Plan will be counted as set forth herein. Class 6 will
                            accept the Plan if holders of at least two-thirds in amount and more than one-half in number of
                            voting Class 6 Second Lien Notes Claims that vote to accept the Plan The Bankruptcy Court
                            may confirm the Plan, which contemplates effecting the Transaction, if the Plan otherwise
                            satisfies the requirements of section 1129 of the Bankruptcy Code, and the Plan then would be

1   The anticipated Debtors in the chapter 11 cases, along with the last four digits of each anticipated Debtor’s federal tax identification
    number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location of the anticipated Debtors’
    service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.

2   Capitalized terms used but not defined herein have the meanings given to them in the Plan.



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                binding on all holders of Allowed Claims in Class 6, among others.

TREATMENT OF    Subject to the terms and conditions of the Plan, you will receive the following treatment if the
YOUR CLASS 6    Plan is consummated:
SECOND LIEN
NOTES CLAIMS:   Each holder of an Allowed Class 6 Claim shall receive its Pro Rata share (measured by
                reference to the aggregate amount of Equitized Senior Obligations, Second Lien Notes Claims,
                and, as applicable upon the occurrence of a DIP Toggle Event, General Unsecured Claims) of
                100% of the New Common Equity, subject to dilution on account of, as applicable, the
                Management Incentive Plan and the New Warrants.
                For additional discussion of your treatment and rights under the Plan, please read the
                Disclosure Statement and the Plan.




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VOTING — COMPLETE THIS SECTION

ITEM 1:          The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was the
PRINCIPAL        holder of Class 6 Second Lien Notes Claims in the following aggregate amount (please fill in
AMOUNT OF        the amount if not otherwise completed):
CLASS 6 SECOND
LIEN NOTES        Amount of Claims: $__________________________
CLAIMS



ITEM 2:          You may vote to accept or reject the Plan. You must check one of the boxes below in order
VOTE TO ACCEPT   to have your vote counted.
OR REJECT THE
PLAN             The holder of the Class 6 Second Lien Notes Claims set forth in Item 1 above votes to
                 (please check one and only one):

                       ACCEPT (VOTE FOR) THE PLAN

                       REJECT (VOTE AGAINST) THE PLAN

                 Please note that you are voting all of your Class 6 Second Lien Notes Claims either to accept
                 or reject the Plan. You may not split your vote. If you do not indicate that you either accept
                 or reject the Plan by checking the applicable box above, your ballot with respect to this Item
                 2 will not be counted. If you indicate that you both accept and reject the Plan by checking
                 both boxes above, your ballot with respect to this Item 2 will not be counted.
                 The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                 Accordingly, your vote cast above will be applied in the same manner and in the same
                 amount in Class 6 against each applicable Debtor.



ITEM 3:          Article VIII.D. of the Plan provides for a third-party release (the “Third Party
RELEASE          Release”):
INFORMATION
                 EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THIS PLAN OR THE
                 CONFIRMATION ORDER, ON AND AFTER OF THE EFFECTIVE DATE, IN
                 EXCHANGE FOR GOOD AND VALUABLE CONSIDERATION, THE ADEQUACY
                 OF WHICH IS HEREBY CONFIRMED, EACH RELEASING PARTY HEREBY
                 RELEASES AND DISCHARGES, AND IS DEEMED TO HAVE RELEASED AND
                 DISCHARGED,    CONCLUSIVELY,   ABSOLUTELY,   UNCONDITIONALLY,
                 IRREVOCABLY AND FOREVER, EACH DEBTOR, REORGANIZED DEBTOR,
                 AND RELEASED PARTY FROM ANY AND ALL CAUSES OF ACTION,
                 WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED
                 OR UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY,
                 CONTRACT, TORT, OR OTHERWISE (INCLUDING ANY DERIVATIVE
                 CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS) THAT SUCH ENTITY
                 WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
                 INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN
                 ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
                 DEBTORS’   IN-   OR   OUT-OF-COURT    RESTRUCTURING   EFFORTS,
                 INTERCOMPANY TRANSACTIONS BETWEEN THE DEBTORS, THE CHAPTER
                 11 CASES, THE FORMULATION, PREPARATION, DISSEMINATION,
                 NEGOTIATION, OR FILING OF THE DEFINITIVE DOCUMENTATION, RSA OR
                 HEDGE PARTY RSA OR THE RELATED PREPETITION TRANSACTIONS, THE
                 DISCLOSURE STATEMENT, THE DIP FACILITY, THE FIRST LIEN EXIT
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            FACILITY, THE HEDGE PARTY SECURED NOTES, THE SECOND LIEN EXIT
            FACILITY, THE PLAN (INCLUDING, FOR THE AVOIDANCE OF DOUBT, THE
            PLAN SUPPLEMENT), OR ANY RESTRUCTURING TRANSACTION,
            CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR
            DOCUMENT RELATING TO ANY OF THE FOREGOING CREATED OR
            ENTERED INTO BEFORE OR DURING THE CHAPTER 11 CASES, ANY
            PREFERENCE, FRAUDULENT TRANSFER, OR OTHER AVOIDANCE CLAIM
            PURSUANT TO CHAPTER 5 OF THE BANKRUPTCY CODE OR OTHER
            APPLICABLE LAW, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT
            OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
            ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
            ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR
            THE DISTRIBUTION OF PROPERTY UNDER THE PLAN OR ANY OTHER
            RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
            OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCE
            TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE, EXCEPT FOR ANY
            CAUSES OF ACTION RELATED TO AN ACT OR OMISSION THAT IS
            DETERMINED IN A FINAL ORDER BY A COURT OF COMPETENT
            JURISDICTION TO HAVE CONSTITUTED ACTUAL FRAUD OR FRAUD
            GROUNDED IN DELIBERATE RECKLESSNESS.          NOTWITHSTANDING
            ANYTHING CONTAINED HEREIN TO THE CONTRARY, THE FOREGOING
            RELEASE DOES NOT RELEASE ANY POST-EFFECTIVE DATE OBLIGATIONS
            OF ANY PARTY OR ENTITY UNDER THE PLAN, ANY RESTRUCTURING
            TRANSACTION, OR ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
            (INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
            IMPLEMENT THE PLAN, INCLUDING THE FIRST LIEN EXIT FACILITY
            DOCUMENTS, THE SECOND LIEN EXIT FACILITY DOCUMENTS OR ANY
            CLAIM OR OBLIGATION ARISING UNDER THE PLAN.

            IMPORTANT INFORMATION REGARDING THE THIRD PARTY RELEASE:

            UNDER THE PLAN, “RELEASING PARTIES” MEANS EACH OF, AND IN EACH
            CASE IN ITS CAPACITY AS SUCH: (A) THE DEBTORS; (B) THE REORGANIZED
            DEBTORS; (C) THE CONSENTING PARTIES; (D) THE TERM LENDERS; (E)
            THE SECOND LIEN NOTEHOLDERS; (F) THE ARES EQUITY HOLDERS; (G)
            THE TERM AGENT; (H) THE SECOND LIEN TRUSTEE; (I) THE DIP LENDERS;
            (J) THE DIP AGENT; (K) THE FIRST LIEN EXIT FACILITY LENDERS; (L) THE
            FIRST LIEN EXIT FACILITY AGENT; (M) THE SECOND LIEN EXIT FACILITY
            LENDERS (N) THE SECOND LIEN EXIT FACILITY AGENT; (O) THE HEDGE
            PARTIES; (P) ALL HOLDERS OF CLAIMS; (Q) ALL HOLDERS OF INTERESTS;
            AND (R) WITH RESPECT TO EACH OF THE FOREGOING ENTITIES IN
            CLAUSES (A) THROUGH (R), SUCH ENTITY AND ITS CURRENT AND FORMER
            AFFILIATES AND SUBSIDIARIES, AND SUCH ENTITIES’ AND THEIR
            CURRENT AND FORMER AFFILIATES’ AND SUBSIDIARIES’ CURRENT AND
            FORMER DIRECTORS, MANAGERS, OFFICERS, EQUITY HOLDERS
            (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR
            INDIRECTLY), AFFILIATED INVESTMENT FUNDS OR INVESTMENT
            VEHICLES,     MANAGED     ACCOUNTS     OR    FUNDS,   PARTICIPANTS,
            PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND EACH OF
            THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
            DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
            ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, LIMITED
            PARTNERS, GENERAL PARTNERS, ATTORNEYS, ADVISORS, ACCOUNTANTS,
            INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
            PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH COLLECTIVELY.

            AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
            PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN, AS
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            SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE RELEASES
            CONTAINED IN ARTICLE VIII.D OF THE PLAN ONLY IF THE COURT
            DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE RELEASES
            AND ONLY IF YOU (A) VOTE TO REJECT THE PLAN AND (B) FILE AN
            OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT. SUBJECT
            TO ANY FINAL ORDER OF THE BANKRUPTCY COURT TO THE CONTRARY,
            REGARDLESS OF WHETHER THE COURT DETERMINES THAT YOU HAVE A
            RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO ACCEPT THE
            PLAN, (B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE,
            (C) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT OR
            REJECT THE PLAN, OR (D) VOTE TO REJECT THE PLAN AND FAIL TO FILE
            AN OBJECTION TO THE THIRD PARTY RELEASES WITH THE COURT, IN
            EACH CASE YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET
            FORTH IN ARTICLE VIII.D OF THE PLAN.




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ITEM 4:            By signing this Class 6 Ballot, the undersigned certifies to the Bankruptcy Court and the
CERTIFICATIONS,    Debtors:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the holder of the
AND     DELIVERY           Second Lien Notes Claims being voted; or (ii) the undersigned is an authorized
INSTRUCTIONS               signatory for an Entity that is a holder of the Second Lien Notes Claims being
                           voted;

                       (b) that the undersigned (or in the case of an authorized signatory, the holder) has
                           received a copy of the Disclosure Statement and the Solicitation Package and
                           acknowledges that the solicitation is being made pursuant to the terms and
                           conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Second Lien Notes
                           Claims in a single Class; and

                       (d) that no other Class 6 Ballots with respect to the amount of the Second Lien Notes
                           Claims identified in Item 1 have been cast or, if any other Class 6 Ballots have been
                           cast with respect to such Second Lien Notes Claims, then any such earlier Class 6
                           Ballots are hereby revoked.




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BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION

Name of Holder:




Signature:
Signatory Name (if other than
the holder):
Title:
Address:
Email Address:
Date Completed:


PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE VOTING AGENT PRIOR TO THE VOTING DEADLINE. PLEASE RETURN THIS
BALLOT VIA EMAIL (ATTACHING A SCANNED PDF OF THE FULLY EXECUTED BALLOT) TO
GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT LINE.

                          Telephone: +1 (888) 909-0100 (ask for Solicitation Group)

                                      Email: Gastar@bmcgroup.com
                                 and reference “Gastar” in the subject line




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                               Important Information Regarding Releases under the Plan:

The Plan includes the following release provisions:3

Article VIII.C: Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, the
adequacy of which is hereby confirmed, on and after the Effective Date, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocable and forever, released and
discharged by the Debtors, the Reorganized Debtors, and their Estates, in each case on behalf of themselves
and their respective successors, assigns, and representatives, and any and all other entities who may purport
to assert any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing entities,
from any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, that the Debtors, the Reorganized Debtors, or their Estates would
have been legally entitled to assert in their own right (whether individually or collectively) or on behalf of the
holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in any
manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure, the Debtors’ in- or out-
of-court restructuring efforts, intercompany transactions between the Debtors, the Chapter 11 Cases, the
formulation, preparation, dissemination, negotiation, or filing of the Definitive Documentation, the RSA or
Hedge Party RSA or the related prepetition transactions, the Disclosure Statement, the DIP Facility, the First
Lien Exit Facility, the Hedge Party Secured Notes, the Second Lien Exit Facility, the Plan (including, for the
avoidance of doubt, the Plan Supplement), or any Restructuring Transaction, contract, instrument, release,
or other agreement or document created or entered into in connection with the RSA, the Disclosure
Statement, the DIP Credit Agreement, or the Plan, any preference, fraudulent transfer, or other avoidance
claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the filing of the Chapter
11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation
of the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, except for any Causes of
Action related to an act or omission that is determined in a Final Order by a court of competent jurisdiction
to have constituted actual fraud or fraud grounded in deliberate recklessness. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any post-Effective Date obligations of
any party or entity under the Plan, any Restructuring Transaction, or any document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the Plan, including the
First Lien Exit Facility Documents and the Second Lien Exit Facility Documents.

Article VIII.D.: Releases by Holders of Claims and Interests

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after of the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Releasing Party hereby releases and discharges, and is deemed to have released and discharged,
conclusively, absolutely, unconditionally, irrevocably and forever, each Debtor, Reorganized Debtor, and
Released Party from any and all Causes of Action, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort, or otherwise (including
any derivative claims, asserted on behalf of the Debtors) that such Entity would have been legally entitled to
assert (whether individually or collectively), based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions
between the Debtors, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing
of the Definitive Documentation, RSA or Hedge Party RSA or the related prepetition transactions, the
Disclosure Statement, the DIP Facility, the First Lien Exit Facility, the Hedge Party Secured Notes, the
Second Lien Exit Facility, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transaction, contract, instrument, release, or other agreement or document relating to any of

3   The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan that may affect your
    rights. If there is any inconsistency between the provisions set forth herein and the Plan, the Plan governs. You should read the Plan before
    completing this ballot.

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the foregoing created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan, or
the distribution of property under the Plan or any other related agreement, or upon any other related act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
except for any Causes of Action related to an act or omission that is determined in a Final Order by a court of
competent jurisdiction to have constituted actual fraud or fraud grounded in deliberate recklessness.
Notwithstanding anything contained herein to the contrary, the foregoing release does not release any Post-
Effective Date obligations of any party or entity under the Plan, any Restructuring Transaction, or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan, including the First Lien Exit Facility Documents, the Second Lien Exit Facility
Documents or any Claim or obligation arising under the Plan.

Article VIII.E: Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
each Exculpated Party is released and exculpated from any Cause of Action for any claim related to any act
or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation,
preparation, dissemination, negotiation, or filing of the RSA and related prepetition transactions, the
Disclosure Statement, the Plan, or any Restructuring Transaction, contract, instrument, release or other
agreement or document created or entered into in connection with the Plan, the Plan Supplement, the
Definitive Documentation, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except
for claims related to any act or omission that is determined in a Final Order to have constituted actual fraud
or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
and upon completion of the Plan shall be deemed to have, participated in good faith and in compliance with
the applicable laws with regard to the solicitation of votes and distribution of consideration pursuant to the
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of
the Plan or such distributions made pursuant to the Plan.

Article VIII.F: Injunction

         Except as otherwise expressly provided in the Plan or for obligations issued or required to be paid
pursuant to the Plan or the Confirmation Order, all Entities who have held, hold, or may hold Claims or
Interests that have been released, discharged, or are subject to exculpation are permanently enjoined, from
and after the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with or with respect
to any such Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (3) creating, perfecting, or enforcing any encumbrance of any kind
against such Entities or the property or the estates of such Entities on account of or in connection with or
with respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or recoupment of
any kind against any obligation due from such Entities or against the property of such Entities on account of
or in connection with or with respect to any such Claims or Interests unless such holder has Filed a motion
requesting the right to perform such setoff on or before the Effective Date, and notwithstanding an indication
of a Claim or Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any such Claims or
Interests released or settled pursuant to the Plan. Notwithstanding anything to the contrary in the foregoing,
the injunction does not enjoin any party under the Plan or under any document, instrument or agreement
(including those included in the Plan Supplement) executed to implement the Plan from bringing an action to
enforce the terms of the Plan or such document, instrument or agreement (including those included in the
Plan Supplement) executed to implement the Plan.
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INSTRUCTIONS                    1.     This ballot contains voting options with respect to the Plan.
FOR COMPLETING
THIS BALLOT:                    2.     To vote, you MUST: (a) fully complete the ballot; (b) clearly indicate your
                                       decision to accept or reject the Plan in Item 2 of this ballot; and (c) sign, date, and
                                       return the ballot via email to gastar@bmcgroup.com and reference “Gastar” in the
                                       subject line by the Voting Deadline, as discussed below.

                                3.     Any ballot submitted that is incomplete or illegible, indicates unclear or
                                       inconsistent votes with respect to the Plan or is improperly signed and returned will
                                       NOT be counted unless the Company otherwise determines.

                                4.     To vote, you MUST deliver your completed ballot so that it is ACTUALLY
                                       RECEIVED by the Voting Agent on or before the Voting Deadline by one of the
                                       methods described above. The Voting Deadline is 12:00 p.m. prevailing Central
                                       Time on October 30, 2018.

                                5.     Any ballot received by the Voting Agent after the Voting Deadline will not be
                                       counted with respect to acceptance or rejection of the Plan, as applicable, unless the
                                       Company otherwise determines. No ballot may be withdrawn or modified after the
                                       Voting Deadline without the Company’s prior consent.

                                6.     Delivery of a ballot reflecting your vote to the Voting Agent will be deemed to have
                                       occurred only when the Voting Agent actually receives the email attaching a
                                       scanned PDF copy of your executed ballot. In all cases, you should allow sufficient
                                       time to assure timely delivery.

                                7.     If you deliver multiple ballots to the Voting Agent, ONLY the last properly
                                       executed ballot timely received will be deemed to reflect your intent and will
                                       supersede and revoke any prior ballot(s).

                                8.     You must vote all of your Class 6 Second Lien Notes Claims either to accept or
                                       reject the Plan, and may not split your vote. Further, if a holder has multiple Claims
                                       within Class 6, the Company may direct the Voting Agent to aggregate the Claims
                                       of any particular holder within Class 6 for the purpose of counting votes.

                                9.     This ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
                                       Interest, or an assertion or admission of a Claim or an Interest, in the Company’s
                                       Chapter 11 Cases.

                                10. You should not rely on any information, representations, or inducements made to
                                    obtain an acceptance of the Plan that are other than as set forth, or are inconsistent
                                    with, the information contained in the Disclosure Statement, the documents
                                    attached to or incorporated in the Disclosure Statement, and the Plan.

                                11. SIGN AND DATE your ballot.4 In addition, please provide your name and mailing
                                    address if it is different from that set forth on the ballot or if no address is preprinted
                                    on the ballot.




4   If you are signing a ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or officer of a corporation or
    otherwise acting in a fiduciary or representative capacity, you must indicate such capacity when signing and, if required or requested by the
    Voting Agent, the Company, the Company’s proposed counsel, or the Bankruptcy Court, must submit proper evidence to the requesting
    party of authority to so act on behalf of such holder.

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              12. If your Claim is held in multiple accounts, you may receive more than one ballot
                  coded for each such account for which your Claims are held. Each ballot votes only
                  your Claims indicated on that ballot. Accordingly, complete and return each ballot
                  you receive.

                PLEASE DELIVER YOUR BALLOT PROMPTLY!

   IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
      PROCEDURES, PLEASE CONTACT THE VOTING AGENT BY EMAILING
    GASTAR@BMCGROUP.COM AND REFERENCE “GASTAR” IN THE SUBJECT
    LINE, OR BY CALLING +1 (888) 909-0100 (ASK FOR SOLICITATION GROUP).




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